Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 1 of 72

void or voidable solely because of the conflict of interest."'°'® Indeed, a director or officer might
stil! be held liable for a breach of his or her fiduciary duties.!°!%

The second duty of loyalty inquiry—independence—contemplates that "a director's
decision [must be] based on the corporate merits of the subject before the board rather than

#1020 An extraneous consideration or influence is present

extraneous considerations or influences.
when the challenged director is controlled by another person or corporation, ©! To prove that a
director is controlled, a party must assert "facts manifesting ‘a direction of corporate conduct in
such a way as to comport with the wishes or interests of the corporation (or persons) doing the
controlling.""'° This can be shown by proving "'that the directors are 'beholden' to [the
controlling person] or so under their influence that their discretion would be sterilized."!°" A
necessary threshold prerequisite for any such showing is "that the supposedly dominating person

actually is interested in the transaction in question."!°”

118 Benihana of Tokyo, Inc. v. Benihana, Inc., 891 A.2d 150, 185 (Del. Ch. 2005), aff'd, 906 A.2d 114 (Del. 2006)
(emphasis in original).

1o19 Td

1020 Aronson, 473 A.2d at 816 ("While directors may confer, debate, and resolve their differences through
compromise, or by reasonable reliance upon the expertise of their colleagues and other qualified persons, the
end result, nonetheless, must be that each director has brought his or her own informed business judgment to
bear with specificity upon the corporate merits of the issues without regard for or succumbing to influences
which convert an otherwise valid business decision into a faithless act."); see also Orman, 794 A.2d at 24
(citation omitted).

12! Orman, 794 A.2d at 24.

1022 Aronson v, Lewis, 473 A.2d 805, 816 (Del. 1984) (citation omitted); see also Orman, 794 A.2d at 24 (citation
omitted).

23 Orman, 794 A.2d at 24 (citations omitted).

1024 See Continuing Creditors' Comm. of Star Telecommc'ns, Inc. v. Edgecomb, 385 F. Supp. 2d 449, 462 (D. Del.
2004).

354
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 2 of 72

When analyzing an allegation that a director is either interested or lacks independence,
the appropriate standard is that of a subjective actual person.'"’ Whether a director is interested
or lacks independence must be viewed in light of each particular director's circumstances. !°”

Notably, proving a breach of the duty of loyalty by one director is not sufficient. Rather,
in order to overcome the business judgment rule in favor of an entire fairness review, a party
asserting a breach must allege "facts which, if accepted as true, establish that the board was
either interested in the outcome of the transaction or lacked the independence to consider
objectively whether the transaction was in the best interest of its company and all of its
shareholders."’”’ To prove that the board was interested or lacked independence, a challenging
party "must allege facts as to the interest and lack of independence of the individual members of
that board.”!°* The party asserting a breach of loyalty must show that a majority of the board of
directors had a financial interest in the transaction or were dominated or controlled by a

materially-interested director.'°”?

(3) The Duty of Disclosure as Part of the Duty of
Loyalty Under Delaware Law.

Under certain circumstances, the duty of loyalty includes a duty of disclosure.’”° This

duty does not require disclosure of every known fact about a transaction in which the corporation

"25 See In re Tele-Commce'ns, Inc. S‘holders Litig., 2005 Del. Ch. LEXIS 206, at *31 (citations omitted); Orman,
794 A.2d at 24 (citations omitted); see also McMullin v. Beran, 765 A.2d 910, 923 (Del. 2000) (citations
omitted); Cede & Co. v. Technicolor, 634 A.2d 345, 364 n.31 (Del. 1993).

126 Orman, 794 A.2d at 24 (citations omitted).
027 Id. at 22 (citations omitted); see also Edgecomb, Inc., 385 F. Supp. 2d at 460.
'28 Orman, 794 A.2d at 22.

'029 Id. Such a showing may not always be required. A breach of the duty of loyalty can be eslablished by showing
material interest on the part of less than a majority of directors if an interested director failed to disclose his or
her interest to the board and, if they had been aware of such an interest, the other board members would have
considered that interest a significant fact in evaluating the transaction. fd. at 22-23.

"Hoover Indus., Inc. v. Chase, No. 9276, 1988 Del. Ch. LEXIS 98, at *6-*7 (Del. Ch. July 13, 1988).

355
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 3 of 72

is engaged, but rather involves situations in which the director is personally engaged in a
transaction that is “harmful to the corporation, but beneficial to the director.""' Moreover, for
the duty to disclose to arise, the director must have "clear knowledge of the information at
issue.”'°? Indeed, in the context of a leveraged buyout transaction, to apply any standard less
stringent would unnecessarily expose the participants in such a transaction, "where directors or
officers of the seller often emerge as directors and officers of the surviving corporation, to
subsequent litigation based on mere speculation that a defendant should have known of some
transaction planned by the new company within a few years after the sale, and that the

transaction would turn out badly."!°7

(4) The Duty of Care Under Delaware Law.

Under Delaware law, the fiduciary duty of care requires officers and directors, when

making business decisions, to consider "all material information reasonably available."!°™4

Failure to meet the duty of care can expose directors to resulting damages, subject to any
exculpation the corporation has conferred on directors in its charter.!°° Such exculpation will

not protect officers. '"*

'! Big Lots Stores, Inc. v. Bain Capital Fund VI, LLC, 922 A.2d 1169, 1184 (Del. Ch. 2006) (citation omitted),
overruled in part on other grounds by N. Am, Catholic Educ. Programming Found. Inc. v. Gheewalla, 930
A.2d 92, 103 (Del. 2007).

1032 Jd at 1185 (citations omitted).
1033 la.

'4 Brehm v. Eisner, 746 A.2d 244, 259 (Del. 2000); Aronson v. Lewis, 473 A.2d 805, 812 (Del. 1984). This does
not impose upon the board the obligation to be informed of every fact. Rather, it "is responsible for considering
only material facts that are reasonably available, not those that are immaterial or out of the [b]oard's reasonable
reach." Brehm I, 746 A.2d at 259.

1035 See Report at § IV.E.2.d.

1036 See id.

356
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 4 of 72

Once informed, the officers and directors must act with requisite care in the discharge of
their duties."”’ This obligation that directors "act on an informed basis . . . forms the duty of
care element of the business judgment rule.""°** A court will not find a breach of the duty of
care "unless the directors individually and the board collectively have failed to inform
themselves fully and in a deliberate manner before voting as a board upon a transaction as
significant as a proposed merger or sale of the company."’”? Nor is the required "due care" of
the substantive variety: "Courts do not measure, weigh or quantify directors' judgments. We do
not even decide if they are reasonable in this context. Due care in the decision-making context is
process due care only." Like the duty of loyalty, a party alleging a breach of the duty of care
must show that a majority of the directors failed to exercise due care.!™

Negligence alone by the officers and directors will not suffice to prove a breach of the
duty of care.'“? Rather, the officers’ and directors’ processes must be grossly negligent.!

Under Delaware law, gross negligence is defined as “reckless indifference to or a deliberate

disregard of the whole body of stockholders or actions which are without the bounds of

3" Cede & Co. v. Technicolor, Inc., 634 A.2d 345, 367 (Del. 1994) (citation omitted); Aronson, 473 A.2d at 812.
38 Cede & Co., 634 A.2d at 367.
1039 Id. at 368 (citation omitted).

1040 Brehm v. Eisner, 746 A.2d 244, 259 (Del. 2000) (hereinafter, Brehm I] (citations omitted}. Notwithstanding the
sweeping nature of this pronouncement, there is a glimpse of "substantive" due care at the far margins of
sensibility. Jd. ("Irrationality is the outer limit of the business judgment rule. Irrationality may be the
functional equivalent of the waste test or it may tend to show that the decision is not made in good faith, which
is a key ingredient of the business judgment rule.”).

‘4! Benihana of Tokyo, Inc. v. Benihana, Inc., 891 A.2d 150, 192 (Del. Ch. 2005), aff'd, 906 A.2d 114 (Del. 2006)
(finding no duty of care violation where disinterested, independent directors met and discussed the challenged
transaction, considered objections and alternatives, and only then, by a disinterested vote comprising a majority
of the board, voted to approve the transaction).

142 Brehm I, 746 A.2d at 259.

1043 McMullin v. Beran, 765 A.2d 910, 921 (Del. 2000); Brehm I, 746 A.2d at 259; Citron v. Fairchild Camera &
Instrument Corp., 569 A.2d 53, 66 (Del. 1989); Aronson v, Lewis, 473 A.2d 805, 812-13 (Del. 1984); see
Benthana of Tokyo, inc., 891 A.2d at 192 ("Because duty of care violations are actionable only if the directors
acted with gross negligence ... such violations are rarely found.").

357
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 5 of 72

reason."'™* Proof of grossly negligent conduct that breaches a fiduciary's duty of care would

rebut the business judgment rule presumption,’ and compel an entire fairness review as

described above.!™*

(5) The Statutory Safe Harbor.

In endeavoring to discharge their duty of care, "directors are fully protected in relying in

1047

good faith on reports made by officers"" “’ and other experts. Indeed, by statute, Delaware law

provides directors with a safe harbor when relying on data presented to them:'*”

A member of the board of directors, or a member of any committee
designated by the board of directors, shall, in the performance of
such member's duties, be fully protected in relying in good faith
upon the records of the corporation and upon such information,
opinions, reports or statements presented to the corporation by any
of the corporation's officers or employees, or committees of the
board of directors, or by any other person as to matters the member
reasonably believes are within such other person's professional or
expert competence and who has been selected with reasonable care
by or on behalf of the corporation.

This statute does not, however, permit directors or members of committees designated by
the directors to rely blindly on data presented.'°” Inherent in this statutory safe harbor is "the
presumption that the information provided is both accurate and complete."'°° To ensure that

presumption is warranted, the directors are bound to make a reasonable inquiry.'°*! A failure to

44 Benihana of Tokyo, Inc., 891 A.2d at 192 (citation omitted).

14° See McMullin, 765 A.2d at 921-22; Benihana of Tokyo, Inc., 891 A.2d at 192. Examples of grossly negligent
conduct include, but are not limited to, a failure to ask questions to determine if an opinion was made on a
sound basis, and when a board is rushed into decision making. See Smith v. Van Gorkom, 488 A.2d 858, 877-78
(Del. 1985), overruled on other grounds by Gantler v. Stephens, 965 A.2d 695 (Del. 2009).

146 McMullin, 765 A.2d at 917.
147 Van Gorkom, 488 A.2d at 874-75 (citation omitted).
1948 DEL. CODE ANN. tit. 8, § 141(e) (2010).

9 See Van Gorkom, 488 A.2d at 875 ("[F]or a report to enjoy the status conferred by § 141(e), it must be pertinent
to the subject matter upon which a board is called to act, and otherwise be entitled to good faith, not blind,
reliance.").

1050 Mills Acquisition Co. v. Macmillan, Inc., 559 A.2d 1261, 1283-84 (Del. 1989).

"5! Van Gorkom, 488 A.2d at 875; see also Mills Acquisition Co., 559 A.2d at 1283-84 (Del. 1989) ("[D]ecisions of
a board based upon [reliance on] data will not be disturbed when made in the proper exercise of business

358
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 6 of 72

do so will destroy any safe harbor available under this statute.'°* This is particularly true when

the board is interested in a chailenged transaction: DGCL section 141(e) does not provide an

absolute defense to an interested-party transaction.'°?

In Valeant Pharmaceuticals International v. Jerney, Valeant's former director and
president was held liable for approving cash bonuses to the Valeant's former CEO and several
other members of the board (including himself).'"°* Although the president admitted that he had
an interest in the bonus transaction, he claimed good faith reliance on a compensation expert's

1055

report. ~~ The court found that the report was a factor, but was not determinative of the entire

fairness inquiry. The court noted the report was based on flawed assumptions and the expert was
hand selected by management without appropriate inquiry by the board; thus, it was

unreasonable for the board to rely on the report.'°

judgment. However, when a board is deceived by those who will gain from such misconduct, the protections
girding the decision itself vanish.").

1052 See Van Gorkom, 488 A.2d at 877-78 ("Under § 141(e), the directors were entitled to rely upon their chairman's
opinion of value and adequacy, provided that such opinion was reached on a sound basis. Here, the issue is
whether the directors informed themselves as to all information that was reasonably available to them. Had
they done so, they would have learned of the source and derivation of the . . . price and could not reasonably
have relied thereupon in good faith. ... [T]he record compels the conclusion that . . . the Board lacked
valuation information adequate to reach an informed business judgment. . . ."); see also Mills Acquisition Co.,
559 A.2d at 1284 ("Decisions made on [the basis of profit-motivated deception] are voidable at the behest of
innocent parties to whom a fiduciary duty was owed and breached, and whose interests were thereby materially
and adversely affected.”).

"53 Valeant Pharms. Int'l v. Jerney, 921 A.2d 732, 751 (Del. Ch. 2007), appeal dismissed, 2007 Del. LEXIS 245
(May 30, 2007).

1054 99) A.2d 732 at 735-36,
1055 Tg at 751.

'°56 Id; see also Boyer v. Wilmington Materials, Inc., 754 A.2d 881, 910-11 (Del. Ch. 1999) (holding that directors’
reliance on the advice of an attorney Manning that transaction was fair cannot shield them from liability arising
out of the unfaimess of the transaction because "they had no reason to believe that his firm had been selected
with reasonable care by or on behalf of the corporation.") (citing DEL. CODE ANN. tit. 8, § 141(e)).

359
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 7 of 72

b. Effect of Solvency or Insolvency on Breach of Duty Questions
Under Delaware Law.

In Delaware, “the general rule is that directors do not owe creditors duties beyond the
relevant contractual terms" that define the specific debtor-creditor relationship.'°’ Indeed,
Delaware law recognizes no directorial fiduciary duty owed directly to the corporation's
creditors, whether during solvency, a "zone of insolvency," or in insolvency.’ ® Of course,
creditors of an insolvent corporation retain the right — framed for the benefit of the
corporation — to initiate and prosecute derivative claims against the corporation's directors for
breaching their fiduciary duties.’°”

At least one Party, relying on the Massachusetts bankruptcy court's opinion in Brandt v.
Hicks, Muse & Co. (In re Healthco International, Inc.),!°© argued that a direct fiduciary duty to
creditors should nonetheless be recognized when the directors’ challenged conduct leaves the
corporation with "unreasonably small capital” that is just short of insolvency. The court in
Brandt had indeed recognized such a duty, reasoning that: "A distribution to stockholders which

renders the corporation insolvent, or leaves it with unreasonably small capital, threatens the very

existence of the corporation. This is prejudicial to all its constituencies, including creditors,

"57 WN. Am. Catholic Educ. Programming Found., Inc. v. Gheewalla, 930 A.2d 92, 99 (Del. 2007) (internal citations
and quolations omitted).

"58 Gheewalla, 930 A.2d at 98-103; id. at 99 ("While shareholders rely on directors acting as fiduciaries 1o protec!
their interests, creditors are afforded protection through contractual agreements, fraud and fraudulent
conveyance law, implied covenants of good faith and fair dealing, bankruptcy law, general commercial law and
other sources of creditor rights."); id. at 100-01 ("[A]n otherwise solvent corporation operating in the zone of
insolvency is one in most need of effective and proactive leadership — as well as the ability to negotiate in good
faith with its creditors — goals which would likely be significantly undermined by the prospect of individual
liability arising from the pursuit of direct claims by creditors.") (citation omitted).

159 Td at 101-03.
‘6° 208 B.R. 288 (Bankr. D. Mass. 1997).

360
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 8 of 72

employees, and stockholders retaining an ownership interest."'°°' Whatever merit the Brandt
opinion may possess, however, it does not comport with current Delaware law.

In Brandt, the target directors voted to approve a leveraged buyout that produced
significant revenue for shareholders but ultimately led to the corporation's bankruptcy by causing
severe cash shortfalls and loan defaults.'° In bankruptcy, the trustee pursued breach of
fiduciary duty claims against the directors, arguing that the shareholder distributions in the LBO,
in which the voting directors participated, mortally imperiled the corporation in violation of the
directors' fiduciary duties.'°* The directors moved for summary judgment on the trustee's claim
against them, arguing that "their sole obligation in connection with the LBO was to attempt to
maximize the consideration passing to [the corporation's] shareholders," and as such, they
enjoyed protection under the business judgment rule.'°™
In denying the directors' motion for summary judgment, the United States Bankruptcy
-1965

Court for the District of Massachusetts reasone

Normally, what is good for a corporation's stockholders is good for
the corporation. But that was hardly true here if the Trustee
establishes the LBO left [the corporation] insolvent or with
unreasonably small capital. When a transaction renders a
corporation insolvent, or brings it to the brink of insolvency, the
rights of creditors become paramount.

"61 Id al 301.

1062 Id at 298-99.
1063 Id. at 299-300.
1064 Id. at 300.

1965 Id at 300 & 301. The bankruptcy court acknowledged that the LBO may not have rendered the corporation
"insolvent" under a strict bankruptcy law definition. Jd. at 302. Nevertheless, the court reasoned that the
creditors’ fiduciary breach claim remained viable because saddling a corporation with “unreasonably small
capital" was as actionable as leaving it facially insolvent: "[A] transaction leaves a company with unreasonably
small capital when it creates an unreasonable risk of insolvency, not necessarily a likelihood of insolvency.
This is similar to the concept of negligence, which is conduct that creates an unreasonable risk of harm to
another's person or property.” Jd. The court explained that judging whether "unreasonably small capital" has
resulted "typically depends upon the reasonableness of the parties’ cash flow projections.” Jd, (footmotes
omitted). "To be reasonable, the projections must leave some margin for error." Jd. (footnotes omitted).

361
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 9 of 72

* ok Ok
Requiring directors to look out for the interests of creditors as well
as stockholders involves no irreconcilable conflict .... It is

merely an incident of the fiduciary obligations owed by directors to
their corporation. A distribution to stockholders which renders the
corporation insolvent, or leaves it with unreasonably small capital,
threatens the very existence of the corporation. This is prejudicial
to all its constituencies, including creditors, employees, and
stockholders retaining an ownership interest. Surely it is not
asking too much of directors that they honor their obligations of
loyalty and care to avoid the corporation's destruction.

Under Delaware law, a corporation is insolvent if it has: "1) a deficiency of assets below

liabilities with no reasonable prospect that the business can be successfully continued in the face

thereof, or 2) an inability to meet maturing obligations as they fall due in the ordinary course of

business."!° Notably, balance sheet insolvency (the first of these two tests) ordinarily will not

constitute legal "insolvency" under Delaware law if it appears that the company has a reasonable

prospect of continuing its operations.!%’ As one court explaine

1068

It is all too common, especially in the world of start-up
companies . . ., fora Delaware corporation to operate with
liabilities in excess of its assets for that condition to be the sole
indicia of insolvency. Defining insolvency to be when a
company's liabilities exceed its assets ignores the realities of the
business world in which corporations incur significant debt in
order to seize business opportunities.

1066

1067

1063

Prod. Res. Grp., L.L.C. v. NCT Grp., Inc., 863 A.2d 772, 782 (Del. Ch. 2004} (citations and quotation marks
omitted); see also Teleglobe Commc'ns Corp. v. BCE, Inc. (In re Teleglobe Commc'ns Corp.}, 493 F.3d 345,
384 (3d Cir. 2007); Teleglobe USA Inc. v. BCE Inc. (In re Telegiobe Commc'ns Corp.}, 392 B.R. 561, 599
(Bankr. D, Del. 2008) Gustifying and following Third Circuit’s arguably "narrow” formulation of the insolvency
test based on Prod. Res. Group. L.L.C. case}; N. Am. Catholic Educ. Programming Found., Inc. v. Gheewalla,
930 A.2d 92, 98 (Del. 2007) (citing solvency test articulated in Prod. Res. Group, LLC decision).

See Whitmer v, William Whitmer & Sons, Inc., 99 A, 428, 430 (Del. Ch. 1916} ("An excess of liabilities over
assets may constitute insolvency, unless it appear that there is a reasonable prospect that the business could be
successfully continued notwithstanding the deficiency of assets."); Francotyp-Postalia AG & Co. v. On Target
Tech., Inc., 1998 Del. Ch. LEXIS 234, at *17 (Del. Ch. Dec. 24, 1998) (stating that the test “based on liabilities
in excess of assets requires the additional element that there be no reasonable prospect that the business can be
continued in the face of that condition, suggesting thal liabilities in excess of assets, alone, does not constitute
insolvency.").

Francotyp-Postalia AG & Co., 1998 Del. Ch. LEXIS 234, at *16.

362
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 10 of 72

Conversely, "[ajt least when combined with other indicia of insolvency . . . a significant excess
of liabilities over assets still will constitute evidence of insolvency."!°

The amorphous limits of a "zone of insolvency" in Delaware—and the scope of any
purported fiduciary duties owed directly to creditors by directors of a corporation operating in
it—have been the subject of extensive discourse by courts and commentators alike over the
years.'°” A decade after Brandt was decided, the Supreme Court of Delaware finally had
occasion to consider whether creditors are owed fiduciary duties by a corporation's directors,
either at the time the company is teetering precariously on the precipice of insolvency or, later,
when incontestable insolvency arrives. In North American Catholic Educational Programming

1071 the court declared in no uncertain terms that direct fiduciary

Foundation, Inc. v. Gheewaila,
duties are not owed to creditors in either situation.'°” Explicitly addressing the Court of
Chancery's dictum that there could be a set of exceptional facts "in which the directors [of an

actually insolvent corporation] display such a marked degree of animus towards a particular

creditor with a proven entitlement to payment that they expose themselves to a direct fiduciary

169 See 1-8 Donald J. Wolfe & Michael A. Pittinger, CORPORATE AND COMMERCIAL PRACTICE IN DELAWARE
COURT OF CHANCERY § 8.11 (2005); see, e.g., Prod. Res. Grp., L.L.C., 863 A.2d at 782-84 (concluding that a
creditor had alleged sufficient facts to support a reasonable inference of insolvency because, among other
things, the corporation had liabilities that exceeded its assets by five times, had negative net tangible assets and
a working capital deficit hat exceeded the corporation's aggregate revenue for the prior five years, and had
"consistently racked up huge annual operating losses.").

1970 Teleglobe Commc'ns Corp., 493 F.3d at 356 n.9, 384 (describing zone of insolvency as “amorphous,” "ill-
defined,” and "hazy"); Gheewalla, 930 A.2d at 99 nn.27 & 28; Prod. Res. Group, L.L.C., 863 A.2d at 789 n.56
(noting definitional challenges created by the "zone of insolvency" concept).

'! 930 A.2d 92 (Del. 2007).

"2 Id. at 98-103. The Supreme Court in Gheewalla embraced many thoughts articulated by Vice Chancellor Strine
in his opinion in Production Resources Group, L.L.C. v. NCT Group, Inc. There, Vice Chancellor Strine had
explained his hesitation in engrafting a fiduciary duty in the so-called "Zone of insolvency”: "1 doubt the
wisdom of a judicial endeavor to second-guess good-faith director conduct in the so-called zone. Although it is
easy to posit extreme hypotheticals involving directors putting cash in slot machines, the real world is more
likely to generate situations when directors face a difficult choice between pursuit of a plausible, but risky,
business strategy that might increase the firm's value to the level that equity holders will receive value, and
another course guaranteeing no retum for equity but preservation of value for creditors. Absent self-dealing or
other evidence of bad faith, by what measure is a court fairly to critique the choice made through an award of
damages?” Prod. Res. Group, L.L.C., 863 A.2d at 790 0.57,

363
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 11 of 72

duty claim by that creditor,""°” the Delaware Supreme Court foreclosed that possibility: "We
think not. While there may well be a basis for a direct claim arising out of contract or tort, our

holding today prectudes a direct claim arising out of a purported breach of a fiduciary duty owed

to that creditor by the directors of an insolvent corporation.”'°

Although Gheewalla addressed these issues as related to officers and directors,'°”* no

Delaware court appears to have expressly considered whether creditors of an insolvent
corporation may bring derivative actions for breach of fiduciary duty against controlling
shareholders. In Official Committee of Unsecured Creditors v. Fleet Retail Financial Group (in
re Hechinger Investment Co. », 107° however, the Delaware District Court noted in dictum, albeit
pte-Gheewalla, that it is likely that such a cause of action would be recognized by Delaware
law.'°"’ The court began its analysis by noting that "[a]t the moment a corporation becomes
insolvent . . . the insolvency triggers fiduciary duties for directors for the benefit of creditors.""0*
The court "assumed," therefore, that in insolvency, controlling shareholders owe the same

1079

fiduciary duties as directors,” and declined to dismiss fiduciary duty claims against certain

shareholders. !*°

1073 Gheewalla, 930 A.2d at 102 n.43 (quoting Prod. Res. Group, 863 A.2d at 798) (alteration in original).
1074 Td.

075 Td at 101.

‘06 274 B.R. 71 (D. Del. 2002).

77 Id. at 89.

‘078 Fg at 89 (citing Geyer v. Ingersoll Pubs. Co., 621 A.2d 784, 787 (Del Ch. 1992)). The court stated that this is
because when a corporation enters the zone of insolvency, the creditors, and not just the shareholders, are
residual risk bearers whose recovery is dependent upon business decisions of the directors. In other words, in
an insolvency situation, the directors can be said to be “playing with the creditors money." Jd.

1079 Id. (citing Credit Lyonnais Bank Nederland, N.V. v. Pathe Commc'ns Corp., 1991 WL 277613 (Del. Ch. Dec.
30, 1991)).

1089 Id. at 91.

364
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 12 of 72

Thereafter, the court was asked to certify to the Supreme Court of Delaware the question
whether controlling shareholders may be liable to creditors for breach of fiduciary duty.'°"’ The
court again acknowledged that it was a "novel question" because "[a]lthough Delaware courts
have held that directors of a corporation may owe fiduciary duties to creditors when the
corporation is insolvent, no Delaware court has expressly extended that duty to controlling or
majority shareholders." The court declined to certify the question, however, because
resolution of the question would not affect the course of the case as it then existed.’ Thus, the
courts have not squarely addressed whether controlling shareholders may be held liable to

creditors for breach of fiduciary duty through a derivative action under Delaware law.

c. Fiduciary Duties of Directors and Officers of Subsidiaries.

Generally, "in a parent and wholly-owned subsidiary context, directors of the subsidiary
are obligated only to manage the affairs of the subsidiary in the best interests of the parent and its
shareholders." Thus, when authorizing a transaction that has already been authorized at the

parent level, a subsidiary's board has “no duty to replicate the deliberative process of [the

parent's] board of directors."'** !°8°

There is no sound basis to hold that the boards of wholly-owned
subsidiaries must engage in their own parallel merger
consideration processes, thereby . . . spreading the powerful
procedural mandate of [Smith v. Van Gorkom, 488 A.2d 858 (Del.
1985)] and its progeny to every level of the corporate family.

"8! Of Comm. of Unsecured Creditors v. Fleet Retail Fin. Grp. (In re Hechinger Inv. Co. }, 280 B.R. 90 (D. Del.
2002).

1082 Jd at 94.

1083 Id. ("No matter what the Delaware Supreme Court decides about whether these defendants may be liable under
Count II, it is undisputed that they will remain in the case as potentially liable under the same set of facts as
directors under Count I.").

1984 4nadarko Petroleum Corp. v. Panhandle E. Corp., 545 A.2d 1171, 1174 (Del. 1988) (citations omitted);
Trenwick Am. Litig. Trust v. Ernst & Young, L.L.P., 906 A.2d 168, 200 (Del. Ch. 2006).

085 Trenwick Am. Litig. Trust, 906 A.2d at 201.

1086 Id (footnote omitted).

365
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 13 of 72

Delaware law does not embrace the concept that a director of a
wholly-owned subsidiary owes a duty to second-guess the business
judgment of its parent corporation when following and supporting
the parent's strategy would not violate any legal obligation the
subsidiary owes to another.

This general rule is based on the assumption that a corporation's primary interest is in

maximizing its economic value, but the only interest of a wholly-owned subsidiary is in serving

its parent.'*’

The Third Circuit Court of Appeals and several of the lower courts in the Third Circuit

and elsewhere, however, have recognized that this general rule gives way when there is a

minority interest in the subsidiary or when the subsidiary is insolvent:'°*

If the subsidiary is not wholly owned, however, in the interest of
protecting minority shareholders we revert to requiring that
whoever controls the subsidiary seek to maximize its economic
value with requisite care and loyalty. . . . Similarly, if the
subsidiary is insolvent, we require the same in the interest of
protecting the subsidiary's creditors.

"{U]pon insolvency directors of a wholly-owned subsidiary owe fiduciary duties to the
subsidiary and its creditors."!? As a result, a lower court in the Third Circuit may hold a
director of a subsidiary liable for breach of fiduciary duties if the director did not exercise

business judgment in good faith or breached his or her duty of loyalty. This is particularly

"87 Teleglobe Comme'ns Corp. v. BCE, Inc. (In re Teleglobe Commc'ns Corp.), 493 F.3d 345, 367 (3d Cir. 2007).

88 Teleglobe Commc'ns, 493 F.3d at 367 (citing Trenwick Am. Litig. Trust, 906 A.2d at 204 n.96 and N. Am.
Catholic Educ. Programming Found., Inc. v. Gheewaila, 930 A.2d 92, 101 (Del. 2007)). Accord VFB LEC y.
Campbell Soup Co., 482 F.3d 624, 635 (3d Cir. 2007) (holding thal, under New Jersey corporate law
"(djirectors normally owe no duty lo corporale creditors, bul when the corporation becomes insolvent the
creditors’ investment is at risk, and the directors should manage the corporalion in their interests as well as that
of the shareholders”); MC Asset Recovery, LLC v. §. Co., 2006 U.S. Dist. LEXIS 97034, a1 *30-31 (N.D. Ga.
Dec. 11, 2006) (refusing to dismiss complaint against parent corporation for aiding and abetting a breach of the
fiduciary duty by subsidiary’s directors); Panos v. Sullivan (In re Sabine, Inc.), 2006 Bankr. LEXIS 381, ai *24
(Bankr. D, Mass. Feb. 27, 2006) (refusing to dismiss a complaint alleging that director breached fiduciary duties
by allowing subsidiary to engage in transactions that were harmful to the subsidiary); Claybrook v. Morris (In
re Scott Acquisition Corp.), 344 B.R. 283, 286 (Bankr. D. Del. 2006) ("in my view, Delaware law would
recognize that the directors and officers of an insolvent wholly-owned subsidiary owe fiduciary duties to the
subsidiary and its creditors.").

189 Scott Acquisition Corp., 344 B.R. 283, 286 (Bankr. D. Del. 2006).

366
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 14 of 72

relevant if the director serves on the boards of both the parent company and the subsidiary and, at
a time the subsidiary was insolvent, approves a transaction that favors the parent at the expense

of the subsidiary.'°””

d. Legal Analysis of Effect of Indemnification and Exculpation
Rights of Directors and Officers on Breach of Duty Claims.

The Delaware legislature has enacted a tiered indemnification structure for its
corporations in DGCL section 145.'°?! The structure "promote[s] the desirable end that
corporate officials will resist what they consider unjustified suits and claims" with the confidence
that the expenses incurred in that resistance will be indemnified by the corporation.'”? The
Supreme Court of Delaware has instructed that the corporate indemnification statute "should be
broadly interpreted to further the goals it was enacted to achieve," and that "an over literal
reading” of its provisions should be "eschew[ed]" when those goals would be disserved.!°”

DGCL section 145 divides the corporate indemnification right into several categories.

First, Delaware corporations may grant indemnity against actions brought by third parties. !°*

10 Off, Comm. of Unsecured Creditors of Verestar, Inc. v. Am. Tower Corp. (In re Verestar, Inc.), 343 B.R. 444,
473-74 (Bankr. $.D.N.Y. 2006) ("Any situation where a wholly-owned and controlled subsidiary enters the
zone of insolvency obviously requires all responsible parties to act with the utmost care and responsibility.");
Case Fin. v. Alden, 2009 Del. Ch. LEXIS 153, at *21 (Del. Ch. Aug. 21, 2009) ("Alden was an officer and
director of Case Financial, a Delaware corporation. Thus, independent of Case Financial's status as a
shareholder of Case Capital, Alden owed duties directly to Case Financial as a director and officer. In these
specific circumstances, Case Financial has standing to sue Alden directly for those breaches of the fiduciary
duties he owes directly to Case Financial arising out of his position at Case Financial. Thus, I do not find that
Case Financial can sue directly on the basis that Case Financial, as a shareholder of Case Capital, can make out
a direct claim against Alden, as a director or officer of Case Capital. Rather, [ do so on the basis that Alden
owed Case Financial duties as a director and officer of Case Financial.") (citation omitted); Grace Bros., Lid, v.
UniHoiding Corp., 2000 Del. Ch. LEXIS 101, at *40 (Del. Ch. July 12, 2000) (To the extent that members of
the parent board are on the subsidiary board or have knowledge of proposed action at the subsidiary level that is
detrimental to the parent, they have a fiduciary duty, as part of their management responsibilities, to act in the
best interests of the parent and its stockholders.").

19! DEL. CODE ANN. tit. 8, § 145 (2010).
82 Stifel Fin, Corp. v. Cochran, 809 A.2d 555, 561 (Del. 2002) (citation omitted).
1093 Td. (citation omitted).

1094 Det. CODE ANN. tit. 8, § 145(a) & (b) (2010). This includes an “action, suit or proceeding” that is "civil,
criminal, administrative or investigative,” and whether "threatened, pending or completed.” Id.

367
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 15 of 72

Such indemnification may be granted to current and former corporate directors, officers,
employees, or agents, and may encompass "expenses (including attorneys’ fees), judgments, fines
and amounts paid in settlement actually and reasonably incurred" in the defense.'°* Although
generally permissive, the right to an indemnification of "expenses" (including attorneys’ fees) is
obligatory if the corporate director, officer, employee, or agent "has been successful on the
merits or otherwise."

Second, Delaware corporations may grant indemnity against actions brought by, or to

f.'°"” As in the first category, this indemnification

vindicate the rights of, the corporation itsel
may be granted to present and former corporate directors, officers, employees, or agents, but
encompasses only "expenses" (including attorneys' fees).'°”* This indemnification also requires
that the indemnitee meet the same two requisites — that he or she "acted in good faith," and "in a
manner the person reasonably believed to be in or not opposed to the best interests of the
corporation."'°” Likewise, indemnification of expenses is obligatory if the indemnitee prevails
in his or her defense.''™ But unlike in the first category, a defeat in court categorically dooms
any access to indemnification, unless the forum tribunal or the Court of Chancery expressly rules

otherwise.!!*!

15 Td § 145(j). Unless expressly provided otherwise, these indemnification rights persist even after the indemnitee
leaves his or her position with the corporation, and “inure[s] to the benefit of the heirs, executors and
administrators of such a person." Jd. § 145(j).

1096 Jd. § 145(c). Even before an indemnitee learns whether he or she is victorious, the corporation may grant the
indemnitee an advancement of the qualifying expenses (but only on the condition that the advanced expenses be
reimbursed if it is later determined that indemnification was not appropnate). fd. § 145(e).

17 Id. § 145(b).
1098 Td

1099 Id. § 145(b). As with the first category, these assessments must be made by express determination. See id.
§ 145d).

1100 1g. § 145(c).

"i" Id. § 145(b) ("[NJo indemnification shall be made in respect of any claim, issue or matter as to which such
person shall have been adjudged to be liable to the corporation unless and only to the extent that the Court of

368
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 16 of 72

Third, Delaware corporations may provide for indemnity through non-statutory vehicles,
such as by "bylaw, agreement, vote of stockholders or disinterested directors or
otherwise... ."''? These non-statutory mechanisms do not, however, excuse the statutory
prerequisites for corporate indemnification.''” Rather, when a corporation "undertakes to adopt
a bylaw" that prospectively commits the corporation to indemnifying corporate personnel, "the

good faith requirement survives."''™ Indeed, Delaware corporations "lack the power to

indemnify a party who did not act in good faith or in the best interests of the corporation."!!°°

Nevertheless, there remains a meaningful benefit to the indemnitee who receives such a

prospective commitment of indemnification — the burden of proving the statutory prerequisites

(good faith and proceeding in the interests of the corporation) shifts to the corporation.'!°

Tribune's Amended and Restated Certificate of Incorporation includes an indemnification

provision drafted to provide the maximum support allowed by the DGCL:""”

Each person who was or is made a party or is threatened to be
made a party to or ts involved in any action, suit or proceeding,
whether civil, criminal, administrative or investigative (hereinafter,
a "proceeding"), by reason of the fact that he or she or a person of
whom he or she is the legal representative, is or was a director or
officer of the corporation or is or was serving at the request of the
corporation as a director or officer of another corporation or of a
partnership, joint venture, trust or any other enterprise, including
service with respect to employee benefit plans, whether the basis
of such proceeding is alleged action in an official capacity as a
director, or officer or in any other capacity while serving as a

Chancery or the court in which such action or suit was brought shall determine upon application that, despite
the adjudication of liability but in view of all circumstances of the case, such person is fairly and reasonably
entitled to immunity for such expenses of which the Court of Chancery or such other court shall deem proper.").

102 Id, § 145(f) (2010).

03 VonFeldt v. Stifel Fin. Corp., No. 15688, 1999 Del. Ch. LEXIS 131, at *7 (Del. Ch. June 11, 1999).
N04 7d. at *7 {citation omitted).

7105 Id

1196 Td. at *10 ("[T]o overcome this self-imposed, mandatory obligation on [the corporation's] part, [the corporation]
must demonstrate to this Court why it should not be required to indemnify [the officer or director].”).

1187 Ex. 968 at 5 (Amended and Restated Certificate of Incorporation of Tribune Company, dated June 12, 2000).

369
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 17 of 72

director or officer, shall be indemnified and held harmless by the
corporation to the fullest extent authorized by the Delaware
General Corporation Law. . . . against all expense, liability and loss
(including attorneys’ fees, judgments, fines, ERISA excise taxes or
penalties and amounts paid or to be paid in settlement) reasonably
incurred or suffered by such person in connection therewith . .. .

The Delaware legislature additionally has provided a statutory template for exculpation
clauses protecting directors of Delaware corporations, codified at DGCL section 102(b)(7),
which "eliminate[] or limit[] the personal liability of a director to the corporation or its

stockholders for monetary damages for breach of fiduciary duty as a director. . . 1108 Such

provisions cannot, however, eliminate or limit the liability of a director:"!°

(i) For any breach of the director's duty of loyalty to the
corporation or its stockholders; (ii) for acts or omissions not in
good faith or which involve intentional misconduct or a knowing
violation of the law; (iii) under § 174 of this title; or (iv) for any
transaction from which the director derived an improper personal
benefit.

Thus, although a section 102(b)(7) provision in a corporation's charter will exculpate
director defendants from paying monetary damages that are exclusively attributable to a violation
of the duty of care, Delaware law does not permit exculpation for breaches of the duty of loyalty,
including the duty of disclosure.''"° The protection of a section 102(b)(7) exculpatory clause
may only be invoked by director defendants when "the factual basis for a claim solely implicates

a violation of the duty of care."”"”’

1108 DEL. CODE ANN. tit. 8, § 102(b}(7} (2010). This provision is among the enumerated set of provisions that the
statute allows (but does not require) a Delaware corporation to include in its certificate of incorporation. See id.
§ 102(b) (2010).

N09 Fd. § 102(b)(7) (2010).

1110 Emerald Partners v. Berlin, 787 A.2d 85, 91-92, 96 (Del. 2001); see Weinberger v. UOP, Inc., 457 A.2d 701,
710 (Del. 1983} (recognizing that "[t]here is no 'safe harbor’ for such divided loyalties in Delaware”); see also
Collins & Aikman Corp. v. Stockman, No. 97-265, 2009 U.S. Dist. LEXIS 43472, at *63-*65 (D. Del. May 20,
2009).

"ll Collins & Aikman Corp., 2009 U.S. Dist. LEXIS 43472, at *64 (quoting Emerald Partmers v. Berlin, 726 A.2d
1215, 1223-24 (Del. 1999)) (concluding that because “here, the Complaint alleges violations of the duty of
loyalty as well as the duty of care, the duty of care claims against the individual director defendants may not be
dismissed at this stage of the proceedings on the basis of [the company's] § 102(b)}(7)} exculpatory provision").

370
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 18 of 72

Tribune's Amended and Restated Certificate of Incorporation includes an exculpation

provision drafted in accordance with the foregoing DGCL provisions:'’!?

TWELFTH: No person who is or was a director of the corporation
shall be personally liable to the corporation or its stockholders for
monetary damages for breach of fiduciary duty as a director,
except that, unless otherwise permitted under applicable laws, this
paragraph shall not eliminate or limit liability (1) for any breach of
the director's duty of loyalty to the corporation or its stockholders,
(ii) for acts or omissions not in good faith or which involve
intentional misconduct or a knowing violation of law, (iii) under
Section 174 of the Delaware General Corporation Law, or (iv) for
any transaction from which the director derived an improper
personal benefit.

DGCL 102(b)(7) and the exculpatory clauses it authorizes are subject to two limitations.
First, by their explicit terms, DGCL section 102(b)(7) and the above-quoted exculpatory clause
only allow exculpation of directors, not officers. When an officer is serving as a director, the
exculpatory clause only applies to exempt monetary liability for acts as a director; Hability for
breaches of duty as an officer is not exculpated." 3

Second, the exculpatory clause does not exculpate a director's liability for acts not taken

in good faith. The "good faith" referred to in DGCL section 102(b)(7) is the same as the

fiduciary duty to act in good faith.''* According to the Delaware Supreme Court:'!!°

The good faith required of a corporate fiduciary includes not
simply the duties of care and loyalty, in the narrow sense that I
have discussed them above, but all actions required by a true
faithfulness and devotion to the interests of the corporation and its
shareholders. A failure to act in good faith may be shown, for
instance, where the fiduciary intentionally acts with a purpose
other than that of advancing the best interests of the corporation,

1112 Fx. 968 at 5 (Amended and Restated Certificate of Incorporation of Tribune Company dated June 12, 2000).

"3 Arnold v. Soc'y for Sav. Bancorp, Inc., 650 A.2d 1270, 1288 (Del. 1994); McPadden v. Sidhu, 964 A.2d 1262,
1275-76 (Del. Ch. 2008); accord in re Century Elecs. Mfg. Inc., 345 B.R. 33, 36 (Bankr. D. Mass. 2006)
(holding that DGCL 102{b)(7) "does not shield officers who are also directors from breach of fiduciary duty
claims arising from their acts taken as officers”). But see Continuing Creditors Comm. of Star Telecomme'ns,
Inc. v. Edgecomb, 385 F. Supp. 2d 449, 464 (D. Del. 2004) (holding that an exculpatory provision barred claims
against directors and officers).

"4" Brehm vy. Eisner (In re Walt Disney Co. Deriv. Litig.}, 906 A.2d 27, 66 (Del. 2006).
("IS Fisner, 906 A.2d at 67 (quoting In re Walt Disney Co. Deriv. Litig., 907 A.2d 693, 755 (Del. Ch. 2005)).

371
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 19 of 72

where the fiduciary acts with the intent to violate applicable
positive law, or where the fiduciary intentionally fails to act in the
face of a known duty to act, demonstrating a conscious disregard
for his duties.

In a transaction context, an "extreme set of facts" is required to sustain a breach of good
faith claim premised on the allegation that disinterested directors intentionally disregarded their
duties.'''® Only if officers and directors "knowingly and completely fail to undertake their
responsibilities" do they breach the duty of good faith.'''’ Under this standard, the Delaware
Supreme Court held that it was not a breach of the duty of good faith for a board to approve a
$13 billion cash merger in one week, during which time the directors met for a total of only
seven hours to consider the matter and did not seriously press the bidder for a better price or
conduct a limited market check.!""®

Courts applying the good faith standard have looked to whether directors took any
intentional acts that are contrary to their known duties. Thus, courts have held that a plaintiff
appropriately alleges breach of fiduciary duties when it alleges that directors favored one bidder
over others.!!! In Gesoff'v. LIC Industries, Inc., the Delaware Chancery court held that bad faith
may be found when directors have "acted with conscious disregard or made decisions with
knowledge that they lacked material information."''° Few Delaware cases attempt to define
precisely what conduct reaches the level of actionable bad faith, but there is at least agreement

that "adopting a ‘we don't care about the risks’ attitude concerning a material corporate decision"

16 Tyondell Chem. Co. v. Ryan, 970 A.2d 235, 243 (Del. 2009).
17" Td, at 243-44.
‘8 Td. at 241.

19 Brewer v. Brewer, 2010 U.S. Dist. LEXIS 60863, at * 51-52 (C.D. Cal. June 17, 2010) (applying Delaware
law); Mills Acquisition Co. v. MacMillan, Inc., 559 A.2d 1261, 1281 (Del. 1989) ("When presumably well-
intentioned outside directors remove themselves from the design and execution of an auction, then what
occurred here, given the human temptations left unchecked, was virtually inevitable.”).

120 Gesoffv. HIC Indus., Inc., 902 A.2d 1130, 1165 (Del. Ch. 2006).

372
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 20 of 72

constitutes bad faith.'’?! Moreover, placing undue reliance on receiving information from a

party with an interest in the transaction can, in some circumstances, be bad faith.”

e. Examiner's Conclusions and Explanation Concerning
Application of Legal Standards to Potential Defendants.

Examiner's Conclusions:

A court is reasonably unlikely to conclude that claims for breach of fiduciary duty could
be sustained against the Tribune Entities' officers and directors and/or the Large Stockholders in
connection with the Step One Transactions. A court is somewhat unlikely to conclude that
claims for breach of fiduciary duty could be sustained against the Tribune Board at Step Two,
but is reasonably likeiy to conclude that claims for breach of fiduciary duty could be sustained
against one or more members of Tribune's senior financial management in connection with the
Step Two Transactions. A court is reasonably unlikely to conclude that claims for breach of
fiduciary duty could be sustained against the Large Stockholders at Step Two. The Examiner
leaves in equipoise whether the directors of the Guarantor Subsidiaries breached their fiduciary

duties at Step Two.

2! In re Walt Disney Co. Deriv. Litig., 825 A.2d 275, 289 (Del. Ch. 2003) (finding bad faith claim properly alleged
where factual allegations, if true, implied that "the defendant directors knew that they were making material
decisions without adequate information and without adequate deliberation, and that they simply did not care if
the decisions caused the corporation and its stockholders to suffer injury or loss") (emphasis in original} aff'd
sub nom, Brehm v, Eisner (In re Walt Disney Co. Deriv. Litig.), 906 A.2d 27 (Del. 2006).

"122 See Brown v. Brewer, 2010 U.S. Dist. LEXIS 60863, at *51-52 (C.D, Cal. June 17, 2010) (holding that board
acted in bad faith by relying on self-interested CEO to get most of their information); Mills Acquisition Co. v.
MacMillan, Inc., 559 A.2d 1261, 1281 (Del. 1989) (finding that directors were not in good faith because
“[w]hen presumably well-intentioned outside directors remove themselves from the design and execution of an
auction, then what occurred here, given the human temptations left unchecked, was virtually inevitable.").

373
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 21 of 72

Explanation of Examiner's Conclusions:

(1) Tribune Directors and Officers at Step One.
Redacted

374
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 22 of 72

Redacted

(2) Guarantor Subsidiary Directors at Step One.

Based on the Examiner's conclusions regarding solvency at Step One, the Examiner does
not find any credible basis to conclude that the Guarantor Subsidiary officers and directors
breached their fiduciary duties in connection with the Step One Transactions. If, however, a
court were to disagree with the Examiner's conclusions regarding solvency at Step One, for the

reasons discussed in the Examiner's consideration of whether the directors of the Guarantor

375
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 23 of 72

Subsidiaries breached their fiduciary duties at Step Two, a serious question exists whether those

directors also breached their fiduciary duties at Step One.

(3) Large Stockholders at Step One.
Redacted

376
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 24 of 72

Redacted

377
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 25 of 72

Redacted

378
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 26 of 72

Redacted

(4) Tribune Directors at Step Two.
Redacted

379
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 27 of 72

Redacted

380
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 28 of 72

Redacted

38]
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 29 of 72

Redacted

382
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 30 of 72

Redacted

383
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 31 of 72

Redacted

384
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 32 of 72

Redacted

385
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 33 of 72

Redacted

(5) —_—‘ Tribune Officers at Step Two.
Redacted

386
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 34 of 72

Redacted

(6) Guarantor Subsidiary Directors at Step Two.
Redacted

387
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 35 of 72

Redacted

388
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 36 of 72

Redacted

(7) Large Stockholders at Step Two.
Redacted

389
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 37 of 72

Redacted

3. Aiding and Abetting Breach of Fiduciary Duty.

a. Legal Standard for Aiding and Abetting Breach of Fiduciary
Duty.

Delaware law recognizes that third parties may be liable for aiding and abetting a
corporate fiduciary's breach of duty to the corporation's shareholders.''™ To establish such a
claim, the proponent must demonstrate four elements: "(1) the existence of a fiduciary
relationship, (2) a breach of the fiduciary's duty . . ., (3) knowing participation in that breach by

the defendants, and (4) damages proximately caused by the breach."’'®’ Some courts have

Redacted

"8 See Malpiede v. Townson, 780 A.2d 1075, 1096 (Del. 2001).

8! Malpiede, 780 A.2d at 1096 (quotations & citations omitted); see also Off, Comm. of Unsecured Creditors of
Fedders N. Am., Inc. v. Galdman Sachs Credit Partners L.P. (in re Fedders N. Am., Inc.), 405 B.R. 527, 543-44

390
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 38 of 72

further elaborated that, to be liable for aiding and abetting a breach of fiduciary duty, the
defendant must give "substantial assistance or encouragement to the fiduciary's wrongful
conduct."!!®

The first two elements of this test set the obvious predicates for a cognizable aiding and
abetting claim—without a fiduciary's breach of duty, there can of course be no claim for aiding
and abetting such a breach.'!®? Typically, the primary, predicate violator of a duty will be a
fiduciary and the aider and abettor will be a non-fiduciary, but this alignment is not essential in
most jurisdictions. Rather, an actor who, though otherwise a fiduciary, possessed no obligation
of trust extending to the specific wrongdoing at issue, may be liable for aiding and abetting
another fiduciary whose obligations of trust were implicated and breached.''™ Standing to assert
an aiding and abetting claim is also required. A bankruptcy trustee possesses standing to assert a
breach of fiduciary duty claim against its own officers and directors and the right to assert aiding
and abetting claims against third parties for helping to facilitate those fiduciary breaches.''®

The third element of "knowing participation" in a breach of fiduciary duty compels that
"the third party act with the knowledge that the conduct advocated or assisted" constitutes a

fiduciary breach.''®> The Delaware courts have recognized a broad spectrum of conduct as

satisfying this standard. For example, the courts have held that "arm's-length negotiations are

(Bankr. D. Del. 2009); Miller v. McCown De Leeuw & Co. (In re Brown Schs.), 386 B.R. 394, 402 (Bankr. D.
Del. 2007); In re Transkaryotic Therapies, Inc., 954 A.2d 346, 370 (Del. Ch. 2008).

182 See Rosener v. Majestic Mgmt., Inc. (In re OODC, LLC), 321 B.R. 128, 144 (Bankr. D. Del. 2005) (citations
omitted).

83 See Malone v. Brincat, 722 A.2d 5, 14-15 (Del. 1998) (citation omitted).
"84 See Brown Schs., 368 B.R. at 402-03.

"85 See OODC, LLC, 321 B.R. at 143 (rejecling argument that "because a debtor cannot sue itself for breach of
fiduciary duties . . . [it] should not be able to sue a third party for aiding and abetting a breach of fiduciary

duty”).
1186 Malpiede, 780 A.2d at 1097 (citations omitted); see also Transkaryotic Therapies, Inc., 954 A.2d at 371-72.

391
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 39 of 72

inconsistent with participation in a fiduciary breach,"''®’ but, a bidder may be liable for aiding
and abetting by “attempt[ing] to create or exploit conflicts of interest in the board" or by
"conspir[ing] in or agree[ing] to the fiduciary breach."''®® Likewise, if a bidder "offer[s} [to the
fiduciary [a] side deal in order to induce the fiduciary to breach or ignore his duty,” aiding and
abetting liability may be imposed.'!®

The fourth element requires the proponent of an aiding and abetting claim to demonstrate
damages that were proximately caused by "the concerted action of the fiduciary and the non-

fiduciary."''*°

b. Legal Standards Governing Potential In Pari Delicto Defenses
to Aiding and Abetting Claims.

Delaware, like most American jurisdictions, recognizes the in pari delicto doctrine in the
context of aiding and abetting claims.''®’ Delaware construes the doctrine to mean that "a party
is barred from recovering damages if his losses are substantially caused by activities the law

1192 Th applying in pari delicto, the Delaware courts reject a cramped,

forbade him to engage in.
literal reading of this "equal fault" principle that would obligate the court to discern "which of
the parties acted with the guiltiest mind;" instead, the doctrine "simply requires the court to

determine that each party acted with scienter in the sense that it was a knowing and substantial

118” Malpiede, 780 A.2d at 1098 (citing Court of Chancery rationale) (citation omitted); see also id. at 1097 (holding
that "a bidder's attempts to reduce the sale price through arm's-length negotiations cannot give rise to liability
for aiding and abetting"). Accord Liquidation Trust of Hechinger Inv. Co. v. Fleet Retail Fin. Grp. (in re
Hechinger Inv. Co.), 278 F. App'x 125, 130 (3d Cir. 2008).

"88 Malpiede, 780 A.2d at 1097-98 (citations omitted).

"89 Transkaryotic Therapies, Inc., 954 A.2d at 372.

19 Id at 373 (quotations & citations omitted).

91" In re Am. Int'l Grp. Consol. Deriv. Litig., 976 A.2d 872, 882 (Del. Ch. 2009).

1192 4m. Int'l Grp., 976 A.2d at 883 (citation and quotation marks omitted); see also OHC Liquidation Trust v.
Credit Suisse First Boston (In re Oakwood Homes Corp.}, 389 B.R. 357, 365 (D. Del. 2008) (stating that "a
plaintiff's recovery may be barred by his own wrongful conduct") (quoting Pinter v. Dahi, 486 U.S. 622, 632
(1988)), aff'd, 356 F. App'x 622 (3d Cir. 2009).

392
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 40 of 72

participant in the wrongful scheme."!'?? The in pari delicto defense may apply to estate
representatives that are asserting causes of action held by the bankruptcy corporation on the
petition date (as opposed to avoidance actions) because the estate representative "stand[s] in the
shoes" of a potentially-wrongdoing debtor.''™

In pari delicto is imported from equity jurisprudence and, as such, is subject to various
exceptions that preclude its application.''? For example, the doctrine might not apply when the
illegal acts were the result of duress, when an illegal arrangement is "intrinsically unequal," or
when “important countervailing interests of public policy" so counsel.''* Recently, the Third
Circuit Court of Appeals has held that, under Pennsylvania law, imputation under the in pari
delicto defense "is unavailable relative to an auditor which has not dealt materially in good faith
with the client-principal .. . ."''®’ The two more familiar exceptions in Delaware are, however,
the "insider" exception and the "adverse interest" exception. !!”
The “insider” exception permits claims against corporate insiders, notwithstanding the in

pari delicto doctrine.''” It is based on the well-recognized principle that "[a]n exception to the

general rule that the knowledge of an officer or agent will be imputed to the corporation arises

3 Am. Int'l Grp., 976 A.2d at 884; see also id. ("To go further and distinguish, for example, among willing foot
soldiers, consiglieres, and the ultimate crime boss is to engage in precisely the type of summing up among co-
conspirators that the doctrine of in pari delicto is intended to obviate.").

"4 Oakwood Homes, 389 B.R. at 365.

1195 See Off Comm. of Unsecured Creditors of Allegheny Health, Educ. & Research Found. v.
PricewaterhouseCoopers, LLP ("Allegheny"), 607 F.3d 346, 354 (3d Cir. 2010) (citations omitted).

"9° See Am. Int'l Grp., 976 A.2d at 883 (citations omitted); J re HealthSouth Corp. S‘holders Litig., 845 A.2d
1096, 1108 (Del. Ch. 2003), aff'd, 847 A.2d 1121 (Del. 2004).

1%" Allegheny, 2010 U.S. App. LEXIS 10920, at *19-20 (citing Off Comm. of Unsecured Creditors of Allegheny
Health Educ, & Research Found. v. PricewaterhouseCoopers, LLP, 989 A.2d 313, 339 (Pa. 2010)). The "good
faith" limitation on the in pari delicto defense has not yet been applied outside the context of auditors and, by its
lerms, is only an application of Pennsylvania law. However, other courts may analogize the decisions of the
Third Circuit and the Pennsylvania Supreme Court to other contexts.

88 Oakwood Homes, 389 B.R. at 365; Am. Int'l Grp., 976 A.2d at 891 {citations omitted).
''9 Oakwood Homes, 389 B.R. at 365.

393
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 41 of 72

when an officer . . . is acting in a transaction in which he is personally or adversely interested or
is engaged in the perpetration of an independent fraudulent transaction, where the knowledge
relates to such transaction and it would be to his interest to conceal it.""""° It is well recognized
that estate representatives can sue the debtor's insiders for their wrongful acts, notwithstanding
that the debtor previously acted through those insiders.'"’ However, the insider exception has
been rarely (if ever) applied outside the context of officers, directors, or other agents of the
corporation, and the Third Circuit Court of Appeals has rejected the argument that a bank could
be an "insider" for purposes of the insider exception, even if it were an insider under the
Bankruptcy Code.'*”

The second, and more common, exception to the in pari delicto doctrine allows claims

1203 This exception provides that "a

against parties with an "adverse interest" to the corporation.
corporation [may] sue its co-conspirators when the corporate agent responsible for the
wrongdoing was acting solely to advance his own personal financial interest, rather than that of
the corporation itself."'2 In such a circumstance, the law recognizes that the corporation is

more victim than conspirator, notwithstanding that it may remain liable to innocent third

parties.'*° For this exception to apply, it is not enough to show that the fiduciary was acting

10° 18B AM. JUR. 2D CORPORATIONS § 1680 (2003); see also In re HealthSouth Corp. S'holders Litig., 845 A.2d
1096, 1107-08 (Del. Ch. 2003) ("The reality that HealthSouth itself might be liable to third-parties due to the
failure of its managers (under Scrushy’s supervision) to prepare materially accurate financial statements does
not mean that HealthSouth has no right to seek recompense from Ihose managers for the harm they caused it.”}
(citation omitted).

"291 Unencumbered Assets, Trust v. JP Morgan Chase Bank (In re Nat'l Century Fin. Enters.), 617 F. Supp. 2d 700,
712 (S.D. Ohio 2009} (collecting cases).

"02 OHC Liquidation Trust v. Credit Suisse First Boston (In re Oakwood Homes Corp.), 356 F. App’x 622, 628 (3d
Cir. 2009).

1203 Am. Int'l Grp. v. Greenberg (In re Am. Int'l. Grp. Consal. Deriv. Litig.), 976 A.2d 882, 891 (Del. Ch. 2009)
(citations omitted).

1204 Td. at 891 (citations omitted).

1205 See id.

394
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 42 of 72

with the third party for his or her benefit; instead, the fiduciary must be shown to have acted to
harm the corporation. 7° Put another way, there must be a "total abandonment of the

corporation's interests." !7°7

¢. Examiner's Conclusions and Explanation Concerning
Application of Legal Standards to Potential Defendants.

Examiner's Conclusions:

The existence of a breach of fiduciary duty is a fundamental prerequisite to any claim for
aiding and abetting a fiduciary's breach. As set forth elsewhere in the Report, the Examiner finds
no credible basis to conclude that Tribune's officers or directors, the Guarantor Subsidiary
officers or directors, or the Large Stockholders breached any fiduciary duties in conjunction with
the Step One Transactions.” In view of these conclusions, a court is highly unlikely to
conclude that any claims for aiding and abetting breach of fiduciary duty could be sustained
based on the conduct of any potential defendants at Step One. As such, the Examiner's
discussion of potential aiding and abetting claims below focuses on Step Two.

As detailed below, the Examiner conchides that it is reasonably unlikely that a court
would conclude that an aiding and abetting claim could be sustained against the Large
Stockholders, the Leads Banks, the Financial Advisors, or the Zell Group arising from the Step
Two Transactions. (The Examiner's conclusion concerning regarding the Zell Group is subject
to a caveat, described below.) The Examiner leaves in equipoise the question whether a claim

for aiding and abetting breach of fiduciary duty could be sustained against VRC.

1206 See id,
1207 py
1208 See Report at § IV.E.2.e.

395
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10

Explanation of Examiner's Conclusions:

(1) Large Stockholders.
Redacted

(2) Lead Banks.
Redacted

(3) Financial Advisors.
Redacted

Page 43 of 72
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10

Redacted

(4) Zell Group.
Redacted

(5) VRC.
Redacted

397

Page 44 of 72
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 45 of 72

Redacted

4. Unjust Enrichment,
a. Legal Standard for Unjust Enrichment.

Under Delaware law, unjust enrichment is the "unjust retention of a benefit to the loss of
another, or the retention of money or property of another against the fundamental principles of
justice or equity or good conscience."’*’* A claim of unjust enrichment is a "quasi-contract
theory of recovery to remedy the absence of a formal contract."!*'* The elements of unjust

enrichment are: "1) an enrichment, 2) an impoverishment, 3) a relation between the enrichment

Redacted

"213 Jackson Nat'l Life Ins. Co. v. Kennedy, 741 A.2d 377, 393 (Del. Ch. 1999) (quotations and citations omitted);
see also Rosener v. Majestic Mgmt. Inc. (In re OODC, LLC), 321 B.R. 128, 145 (Bankr. D. Del. 2005) ("To
support a claim for unjust enrichment, the plaintiff must establish that the defendant received a benefit, that the
defendant was aware of the benefit, and that the benefit was accepted by the defendant under circumstances that
would make the acceptance inequitable without payment for its value.") (citations omitted),

"214 Tolliver v. Christina Sch. Dist., 564 F. Supp. 2d 312, 315 (D. Del. 2008) (citations omitted); see also First
Commodity Traders, Inc. v. Heinold Commodities, Inc., 766 F.2d 1007, 1011 (7th Cir. 1985) (citing LaThrop v.
Beil Fed. Savs. & Loan Ass'n, 370 N.E.2d 188, 195 (Ill. 1977)).

398
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 46 of 72

and the impoverishment, 4) the absence of justification and 5) the absence of a remedy provided
by law,"!2!5
Unjust enrichment is typically invoked in a quasi-contractual setting, when a plaintiff
seeks to recover from a defendant for a benefit conferred under an unconsummated or void
contract or when the defendant is not lawfully entitled to retain a benefit which it has
received.'?'® In that context, "the existence of an express, enforceable contract that controls the

"1217 An unjust enrichment claim may

parties’ relationship wil! defeat unjust enrichment claims.
be stated, however, “when the validity of the contract is in doubt or uncertain," when the express
contract does not govern exclusively the obligations or rights of the parties, or when the subject
matter of the unjust enrichment claim is distinct from the subject matter of the parties'
contract.'?!8

An unjust enrichment claim also may be stated based on certain tortious conduct that

benefits the tortfeasor.'*'? For example, it is well recognized that “a fiduciary who has acquired

215 LaSalle Nat'l Bank v. Perelman, 82 F. Supp. 2d 279, 294-95 (D. Del. 2000) (citing Jackson, 741 A.2d at 393-
94); Nemec v. Shrader, 991 A,2d 1120, 1130 (Del. 2010); see also Vinarov v. Motorola, Inc., 2008 U.S. Dist.
LEXIS 25363, at *39 (N.D. Ill. Mar. 26, 2008) aff'd, 323 F. App’x 472 (7th Cir. 2009) ; Douglass v. Wones, 458
N.E.2d 514, 521 (Ill. App. Ct. 1983); Kenneke v. First Nat'l Bank, 382 N.E.2d 309, 310-11 (Ill. App. Ct. 1978).
With respect to the last element — the absence of a remedy at law — the Supreme Court of Delaware has held that
there can be no cause of action for unjust enrichment unless without it “the plaintiffs will have no remedy to
recover the benefit of which they were wrongfully deprived.” Nemec, 991 A.2d at 1130.

'216 Steamfitters Local Union No. 420 Welfare Fund v. Philip Morris, 17) F.3d 912, 936 (3d Cir. 1999).

"217 Tolliver, 564 F. Supp. 2d at 315; see also Off, Comm. of Unsecured Creditors of Fedders N. Am. Inc. v.
Goldman Sachs Credit Partners L.P. (In re Fedders N. Am., Inc.), 405 B.R. 527, 552 (Bankr. D. Del. 2009)
("Whether asserted under the law of Delaware, New Jersey, or New York, the authorities are clear that a claim
for unjust enrichment will be dismissed if the complaint alleges an express, enforceable contract that contrels
the parties’ relationship."); Astropower Liquidating Trust v. KPMG LLP, 2007 US. Dist. LEXIS 38222, at *18-
19 (D. Del. May 25, 2007) ("Claims for unjust enrichment must be dismissed when the complaint alleges that
an express, enforceable contract controls the parties' relationship . . . ."').

"18 Tolliver, 564 F. Supp. 2d at 315-16; Petrakopoulou v. DHR Int'l, Inc., 660 F. Supp. 2d 935, 940 (N_D. Ill.
2009).

Steamfitters Local Union No. 420, 171 F.3d at 936 ("In the tort setting, an unjust enrichment claim is essentially
another way of stating a traditional tort claim (i.e., if defendant is permitted to keep the benefit of his tortious
conduct, he will be unjustly enriched)."). RESTATEMENT (FIRST) OF RESTITUTION § 3 (1937).

1219

399
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 47 of 72

a benefit by a breach of his duty as fiduciary is under a duty of restitution to the beneficiary"!

and "[a] third person who has colluded with a fiduciary in committing a breach of duty, and who
obtained a benefit therefrom, is under a duty of restitution to the beneficiary."'?7! However, a
defendant must prove all of the elements of the underlying tort to attack the benefits received
under a theory of unjust enrichment.'?*? Moreover, not all torts give rise to an unjust enrichment

claim.

b. Potential Preemption Issues.

Even if a given set of facts supports an actionable unjust enrichment claim under
Delaware common law, it is conceivable that such a claim in the context of a bankruptcy
proceeding might be preempted by the "settlement payment" defense established by Bankruptcy
Code section 546(e).'” Under the Supremacy Clause of the United States Constitution, state
laws that interfere with or are contrary to federal law are preempted and without effect.'?”*
When there is no statutory language that explicitly preempts state law, implied preemption may

be found under two circumstances: conflict preemption and field preemption.!?”°

1220 RESTATEMENT (FIRST) OF RESTITUTION § 138(1) (1937).

"221 Id § 138(2) (1937); Rosener v. Majestic Mgmt. Inc. (In re OODC, LLC), 321 B.R. 128, 144-45 (Bankr, D. Del.
2005).

"222 Allegheny Gen. Hosp. v. Philip Morris, 228 F.3d 429, 447 (3d Cir. 2000); N. Am. Catholic Educ. Programming
Found., Inc. v. Cardinale, 567 F.3d 8, 15 n.3 (st Cir. 2009).

"223-11 U.S.C. § 546(e) (2006). As detailed in another part of the Report, section 546(e) provides, in relevant part,
that notwithstanding certain enumerated code sections, "the trustee may not avoid a transfer that isa...
settlement payment . . . made by or to (or for the benefit of} a commodity broker, forward contract merchant,
stockbroker, financial institution, financial participant, or securities clearing agency, . . . that is made before the
commencement of the case, except under section 548{a}{1)(A) of this title." Jd Section 548(a}(I)(A) pertains
to transfers within two years prior to filing the petition for bankruptcy. See 11 U.S.C. § 548(a}(1}(A); Report at
§ IV.B.7.a.

1224 U.S. CONST. art. VI, cl. 2; see Altria Grp. v. Good, 129 S. Ct, 538, 543 (2008).

125 See Off, Comm. of Unsecured Creditors v. Fleet Retail Fin. Grp. (In re Hechinger Invest. Co.), 274 B.R. 71, 96
(D. Del. 2002); see also Altria Grp., 129 S. Ct. at 543 ("Pre-emptive intent may also be inferred if the scope of
{a federal] statute indicates that Congress intended federal law to occupy the legislative field, or if there is an
actual conflict between state and federal law.").

400
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 48 of 72

In Official Committee of Unsecured Creditors v. Fleet Retail Financial Group (In re

1226 the United States District Court for the District of Delaware

Hechinger Investment Co.),
examined whether an unsecured creditors’ committee's unjust enrichment claim, in the context of
a failed leveraged buyout, was preempted by Bankruptcy Code section 546(e) and concluded that
the claim was preempted based on both conflict and field preemption. Conflict preemption
occurs when federal and state law directly conflict and cannot coexist, either because compliance
with both is a “physical impossibility" or there is an "inevitable collision" between the two
regulatory schemes.'”*’ Field preemption exists when a federal regulatory scheme is
“sufficiently comprehensive" to allow a reasonable inference that Congress "left no room" for
supplementary state regulation.'?”8

Evaluating conflict preemption first, the court in Hechinger noted that the remedies
sought by the committee pursuant to its unjust enrichment and fraudulent transfer claims were
the same—to avoid the transactions and recover payments made in exchange for the tender of
Hechinger shares by Hechinger shareholders.'”? Having already determined that Bankruptcy
Code section 546(e) barred the committee from recovering payments made to shareholders based
on a fraudulent transfer claim,'™° the court concluded that allowing an unjust enrichment claim

would enable the committee to circumvent section 546(e) and frustrate the purpose of the

settlement payment defense.'”’ Thus, the court determined that "[b]ecause the Committee's

"5 Hechinger, 274 B.R. at 95-97 (citation omitted).
1227 Ta

1228 Id at 96 (citing Fla. Lime & Avocado Growers, Inc. v. Paul, 373 U.S. 132, 142-43 (1963)); see also Altria Grp.,
Inc. v. Good, 129 §, Ct, at 543.

1229 Hechinger, 274 B.R. at 96.
1230 See id. at 87-88.
1231 Id at 96.

401
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 49 of 72

unjust enrichment claim effectively acts as a section 544 fraudulent conveyance claim, it directly
conflicts with the remedial exemption set forth in Code section 546(e)" and is preempted.'?°”
Next, analyzing field preemption, the court in Hechinger observed that the Bankruptcy
Code, and section 544 in particular, provides an exclusive and comprehensive framework for
addressing claims seeking to avoid transfers made more than one year'*”’ before bankruptcy. In
this way, by "providing and circumscribing the remedies for the conduct alleged, Congress
necessarily intended to displace inconsistent state law claims and remedies."'*** Thus, the court
held that the Bankruptcy Code "preempts the field" and precludes an unjust enrichment claim as
a supplemental state law remedy.'275 Accordingly, the court dismissed the committee's unjust
enrichment claim. '7*°
In the Third Circuit, "the decision of a district court is not binding on a bankruptcy

01237

court... Decisions by a district court judge, however, are entitled to substantial deference

in the bankruptcy court, particularly when any appeal from the bankruptcy court would go to the

132 Id. at 96. But see Loranger Mfg. Corp. v. PNC Bank (In re Loranger Mfg. Corp.), 324 B.R. 575, 582 (Bankr.
W.D. Pa. 2005) (finding that section 546(e) is applicable but refusing to dismiss claim for unjust enrichment.").

233 Hechinger, 274 B.R. at 97. Bankruptcy Code Section 548(a)(1)(A) was amended in 2005, subsequent to the
issuance of the Hechinger decision, to permit avoidance of transfers made two years prior to the filing of the
bankruptcy petition. See 11 U.S.C. § 548(a)(1)(A) (2006).

1234 Hechinger, 274 B.R. at 97.
1235 ld

‘2° Jd. The First Circuit and Sixth Circuit Courts of Appeals, among other federal courts, have likewise applied
field preemption to conclude that the Bankruptcy Code is sufficiently comprehensive as to preempt virtually all
alternative mechanisms for remedying violations of the Code and all state law claims alleging misconduct in
bankruptcy proceedings, including unjust enrichment claims. See Pertuso v. Ford Motor Credit Co., 233 F.3d
417, 425-26 (6th Cir. 2000) (holding that state law unjust enrichment claims are preempted by the "pervasive
nature of Congress’ bankruptcy regulation” through the Bankruptcy Code); Bessette v. Avco Fin. Servs., Inc.,
230 F.3d 439, 447-48 (1st Cir. 2000) (affirming district court’s holding that state law cause of action for unjust
enrichment is preempted by the Bankruptcy Code); see also Cox v. Zale Delaware, Inc., 242 B.R. 444, 449-50
{N.D. Ill, 1999) (rejecting plaintiff's unjust enrichment claim on basis that "the federal bankruptcy law occupies
the field; there is simply no room for the state cause of action"); Lenoir v. GE Capital Corp. (In re Lenoir), 231
B.R. 662, 675 (Bankr. N.D. Il. 1999).

1237 Liquidating Trust of U.S. Wireless Corp. v. Wax (In re U.S. Wireless Corp.), 384 B.R. 713, 723 n.94 (Bankr. D.
Del. 2008); see also In re Chodnicki, 2008 Bankr. LEXIS 250 at *11-12 (Bankr, D.N.J. Jan. 24, 2008); fn re
Brown, 244 B.R. 62, 64 (Bankr. D.N.J. 2000); cf Threadgill v. Armstrong Worid Indus., Inc., 928 F.2d 1366,
1371 (3d Cir. 1991) (’[T]here is no such thing as ‘the law of the district.'”).

402
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 50 of 72

district court.'2°8 Notwithstanding this deference, under different factual circumstances, one
Delaware bankruptcy court concluded that an unjust enrichment claim is not preempted. In
Rosener v. Majestic Management, Inc. (In re OODC, LLC),'™? the bankruptcy court refused to
dismiss well—pled, unjust enrichment claims because the settlement payment defense of section
546(e) did not apply, and thus, there was no conflict with federal law in allowing the unjust
enrichment claims to go forward.'™° Although the holding in Jn re OODC, LLC is inconsistent
with a finding that the Bankruptcy Code field preempts a state law claim for unjust enrichment,
the decision did not address field preemption. In the Examiner's view, however, the bankruptcy
court's holding is consistent with the plain meaning of the Bankruptcy Code: Bankruptcy Code
section 546(e), by its terms, only limits avoiding powers, not choses in action that are property of
the estate under Bankruptcy Code section 541(a). Thus, the Examiner leaves the question of

preemption of unjust enrichment claims in equipoise.

c. In Pari Delicto as a Defense to an Unjust Enrichment Claim.

A claim for unjust enrichment may also be barred when the plaintiff or its successor is in
pari delicto.'**' As discussed in greater depth above, under this doctrine a party is foreclosed
from recovering damages if its losses are substantially caused by activities from which it was

legally forbidden to engage.'*” Also as discussed above,'*? however, there would be no in pari

1238 See Chodnicki, 2008 Bankr. LEXIS 250 at *12.
239 32] B.R. 128 (Bankr. D, Del. 2005).

"4° OODC, 321 B.R. at 144-45; accord, Enron Corp. v. Bear, Stearns Inv’l Ltd. (In re Enron Corp.), 323 BR. 857,
876 (Bankr. $.D.N.Y. 2005).

"4" See In re Am. Int'l Group, Inc. Consol. Deriv. Litig., 976 A.2d 873, 883 (Del. Ch. 2009),

'*? The doctrine of in pari delicto is more commonly utilized as a defense to claims for aiding and abetting breach
of fiduciary duty. That said, at least one court has concluded that a plaintiff's unjust enrichment claim was
barred by in pari delicto when the plaintiff and defendant had entered into an illegal contract. See Ctr. for
Athletic Med., Ltd. v. Indep. Med. Billers, Inc., 889 N.E.2d 750, 759-60 (Ill. App. Ct. 2008). In reaching this
conclusion, the court noted that “[t]he law will not aid either party to an illegal act, but will leave them without
remedy as against each other, with the caveat that they are of equal knowledge, willfulness and wrongful intent,

403
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 51 of 72

delicto defense to an unjust enrichment claim against directors or officers of Tribune, if a court

were to apply the "insider exception" to the in pari delicto defense.
d. Examiner's Conclusions and Explanation Concerning
Application of Legal Standards to Potential Defendants.
Examiner's Conclusions:
The Examiner concludes that, notwithstanding the deference accorded a Delaware district

1244

court opinion, “" it is unclear whether a Delaware bankruptcy court would follow Hechinger

and hold that any such claims against the LBO Lenders and the Selling Shareholders are
preempted by the Bankruptcy Code (including section 546(e) specifically, when applicable).'”“°
Regardless, the Examiner concludes that it is reasonably unlikely a court would conclude that
any such claims, even if not preempted, are meritorious.

Explanation of Examiner's Conclusions:

Although certain of the Parties argued that the court's ruling in Hechinger is
determinative, one Party argued that under Illinois precedent, the settlement payment defense
does not bar an unjust enrichment claim, citing Wieboldt Stores v. Schottenstein.’"* The
Wieboldt case examined section 546(e} and the legislative history thereof, and concluded that the
1247

defense was categorically inapplicable to payments to stockholders in a leveraged buyout.

This conclusion was, however, specifically rejected by the Third Circuit Court of Appeals in

or in pari delicto.” Ctr. for Athletic Med., 889 N.E.2d at 759-60 (citations and quotation marks omitted). See
Report at § IV.E.3.b.

43 See footnotes 1199-1201 and accompanying text.

1244 Tt is possible that, applying the plain meaning of the Bankruptcy Code, the Third Circuit Court of Appeals
would eschew the Hechinger court's holding.

"245 Given the Examiner's conclusion that unjust enrichment claims are preempted, the potential application of the in
pari delicto defense to the unjust enrichment claims raised by the Parties is not discussed further herein.

248 131 B.R. 655, 663-65 (N_D. Il. 1991).
"247 Wieboidt, 131 B.R. at 665.

404
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 52 of 72

Lowenschuss v. Resorts International, Inc. (In re Resorts International, Inc.).'"“* Nevertheless,
the application of the 546(e) defense to a trustee's avoiding power says nothing about the
trustee's pursuit of a chose in action under Bankruptcy Code section 541. Notwithstanding the
Delaware district court's analysis in Hechinger that unjust enrichment claims based on
potentially-voidable transfers or obligations are preempted by the Bankruptcy Code generally,
and specifically by section 546(e), when applicable, a bankruptcy court in the District of
Delaware has concluded otherwise on an unjust enrichment claim. Thus, the Examiner leaves
the question of preemption in equipoise.

Leaving the question of preemption aside, although certain Parties suggested that Tribune
holds unjust enrichment claims against the LBO Lenders and the Selling Stockholders,
respectively, for the value conferred on those entities resulting from the LBO Lender Debt and
the payments of principal and interest on the LBO Lender Debt, and the redemptions payments
to the Selling Stockholders, those Parties cited little authority or substantiation for this
contention. With respect to payments to Selling Stockholders, Delaware law appears to hold that
dividends or redemptions may not be recovered under an unjust enrichment theory when the
recipients did not engage in wrongdoing or otherwise tortious behavior.'” With respect to
payments made and obligations incurred to the LBO Lenders, absent facts justifying avoidance
of obligations or transfers or demonstrable wrongdoing such as tortious acts, it is difficult to
envision how the fourth element of unjust enrichment, "the absence of justification," could be
met, and a court following Third Circuit law is reasonably likely to hold that when the

underlying behavior is not tortious.

1248 181 F.3d 505 (3d Cir. 1999).

1249 See LaSalle Nat'l Bank v. Perelman, 82 F. Supp. 2d 279, 294-95 (D. Del. 2000); Territory of U.S. V.L v.
Goldman, Sachs & Co., 937 A.2d 760, 796 (Del. Ch. 2007), aff'd, 956 A.2d 32 (Del. 2008).

405
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 53 of 72

Ultimately, as another Party pointed out, unjust enrichment is largely derivative of other
causes of action. To the extent unjust enrichment is asserted against parties who allegedly
breached their fiduciary duties to Tribune or aided and abetted the breach of fiduciary duties to
Tribune, the analysis of the unjust enrichment claims would be very similar to the analysis of the
underlying breach of fiduciary duty or aiding and abetting claims; only the remedy would
differ.'*° The factual difficulties in establishing breach of fiduciary duty or aiding and abetting
breach of fiduciary duty would apply to an unjust enrichment claim based on the same facts. In
sum, unjust enrichment does not add meaningfully to the analytical equation already extant under

the rubric of aiding and abetting or breach of fiduciary duty.

5. Illegal Corporate Distributions.

a. Legal Standard for INegal Corporate Distributions Pursuant to
the DGCL.

Pursuant to the DGCL, a Delaware corporation may purchase, redeem, or otherwise
acquire its own shares.'”°' This authority is limited, however, by DGCL section 160(a), which
prohibits a corporation from purchasing or redeeming its own shares of stock "when the capital
of the corporation is impaired or when such purchase or redemption would cause any impairment
of the capital of the corporation... ."'*°? A stock purchase or redemption impairs capital "if the

funds used in the repurchase exceed the amount of the corporation's ‘surplus’... ."!?%°

1250 See Steamfitters Local Union No. 420 Welfare Fund v. Philip Morris, 17) F.3d 912, 936 (3d Cir. 1999); N. Am.
Catholic Educ. Programming Found. Inc. v. Cardinale, 567 F.3d 8, 15 n.3 (1st Cir. 2009).

5! See DEL. CODE ANN. tit. 8, § 160 (2010).

"52 DEL. CODE ANN. tit. 8, § 160(a)(1) (2010); see Klang v. Smith's Food & Drug Ctrs., Inc., 702 A.2d 150, 153
(Del. 1997).

"53 Klang, 702 A.2d at 153 (intemal citation omitted). "Surplus" is defined by DGCL section 154 to mean the
excess of net assets over the par value of the corporation's issued stock. Klang, 702 A.2d at 153 (citing DEL.
CODE ANN. tit. 8, § 154).

406
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 54 of 72

Consequently, to conduct a lawful stock purchase or redemption, the net assets of the corporation

must exceed its total liabilities.!7"4

In determining surplus, however, the corporation is not bound by its balance sheets.'?°°
The DGCL recognizes that unrealized appreciation or depreciation, for example, may render a
corporation's books misleading. Thus, in assessing conformity with section 160, courts permit a
corporation "to revalue properly its assets and liabilities to show a surplus."!*°° Typically, courts
defer to a board's determination of surplus, unless "a plaintiff can show that the directors ‘failed
to fulfill their duty to evaluate the assets on the basis of acceptable data and by standards which
they are entitled to believe reasonably reflect present values.""'**’ Thus, the few cases that have
addressed this question have suggested that absent a showing of bad faith or fraud, the courts
will defer to the judgment of the directors in determining the existence of a surplus and will not
second guess them. !**8

A Delaware corporation also ts authorized, pursuant to DGCL section 170, to declare and
pay dividends on shares of its capital stock out of its surplus, or, if there ts no surplus, out of its

net profits either for the fiscal year in which the dividend is declared or in the preceding year.'**°

"254 See Kohls v. Duthie, 791 A.2d 772, 784 (Del. Ch. 2000); see also Pereira v. Dow Chem. Co. (In re Trace Int'l
Holdings, Inc.), 287 B.R. 98, 107-08 (Bankr. $.D.N.Y. 2002), vacated on other grounds, 2009 U.S. Dist.
LEXIS 55168 (S.D.N.Y. June 25, 2009).

255 Klang, 702 A.2d at 154.

1256 Id; see also Sheffield Steel Corp. v. HMK Enters., Inc. (In re Sheffield Steel Corp.), 320 B.R. 423, 449-50
(Bankr. N.D. Okla. 2004) (quoting Morris v. Standard Gas & Elec. Co., 63 A.2d 577, 582 (Del. Ch. 1949)). In
Sheffield Steel, the record failed to establish that the board had acted with care by engaging qualified
professionals to determine capital adequacy before declaring a dividend.

"57 Klang, 702 A.2d at 155-56 (quoting Morris, 63 A.2d at 582).

"8 Id. at 156; Morris, 63 A.2d at 585 (". .. 1am persuaded that this court cannot substitute either plaintiffs or its
own opinion of value for that reached by the directors where there is no charge of fraud or bad faith.").

"259 DEL. CODE ANN. tit. 8, § 170(a) (2010). The statute provides, in relevant part:

(a) The directors of every corporation, subject to any restrictions contained in its certificate of
incorporation, m ay dec] are and pay dividends upon the shares of i ts capi tal st ock, or to its
members if the corporation is a no nstock corporation, either (1) out of its surplus, as defined in
and computed in accordance with §§ 154 and 244 of this title, or (2) in case there shall be no such

407
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 55 of 72

Any payment of dividends except out of surplus cr net profits is prohibited specifically by DGCL
section 173.'7°

When a corporation has conducted an unlawful stock purchase or redemption or made an
unlawful payment of dividends in contravention of the relevant DGCL provisions, the directors
of the corporation may be subject to personal liability.'”°' Specifically, DGCL section 174
prescribes that a director who willfully or negligently violates DGCL sections 160 or 173 "shall
be jointly and severally liable . .. to the corporation, and to its creditors in the event of its
dissolution or [insolvency]."'**? The purpose of section 174 is to protect those who relied upon
the stated capital of the corporation in extending credit, because “when the corporation impairs
that capital by an illegal redemption of stock, it depletes the creditors' 'trust fund’ and seriously
jeopardizes their means to recover their debts."!?%

Courts have specifically recognized the viability of claims based on DGCL section 174 in
the leveraged buyout context,'”™ and have concluded that elements of such transactions may

constitute unlawful distributions subjecting a director to personal liability.'*©

surplus, out ofits net profits forthe fiscal yearin which the dividend is decl ared and/or the
preceding fiscal year.

1269 DEL. CODE ANN. tit. 8, § 173 (2010). The fundamental premise underlying these DGCL sections is that capital
constitutes, in essence, a trust fund available for payment of corporate debt, which has priority over the rights of
equity holders. See Sheffield Steei, 320 B.R. at 448.

'261 DEL. CODE ANN. tit. 8, § 174(a) (2010).

1262 Johnston v. Wolf, 487 A.2d 1132, 1136 (Del. 1985) (citing Del. Code tit. 8, § 174(a)) (emphasis omitted).
Section 174(a) allows a claim to be brought “at any time within 6 years after paying [an] unlawful dividend or
after [an] unlawful slock purchase or redemption. .. ." DEL. CODE ANN. tit. 8, § 174(a} (2010), Dissenting or
absent directors may be absolved of liability if they caused their dissent to be entered on the corporate books
and records at the proceeding or immediately thereafter. DEL. CODE ANN. tit. 8, § 174(a) (2010).

'83 Johnston, 487 A.2d at 1134-35 (internal citation omitted). See generally Sheffield Steel, 320 B.R. at 448.

1264 See, e.g., Off Comm. of Unsecured Creditors of Buckhead Am. Corp. v. Reliance Capital Group. Inc. (In re

Buckhead Am. Corp), 178 B.R. 956, 969-74 (D. Del. 1994) (denying directors' motion to dismiss illegal
corporate distributions claim premised upon corporate subsidiary's financing of leveraged buyout); Crowthers
McCalt Pattern, Inc. v. Lewis, 129 B.R. 992, 1000-01 (S.D.N.Y. 1991) (denying motion to dismiss claim
against directors based upon DGCL sections 160 or 173 in leveraged buyout context, noting that "the economic
substance of the transactions in question brings them within the purview of the relevant sections of the
[DGCL]").

408
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 56 of 72

Although section 174 does not expressly authorize a cause of action against stockholder
recipients of allegedly illegal corporate distributions, courts in the Third Circuit and elsewhere
have interpreted Delaware law to recognize a cause of action against stockholders to recover the
distributions paid to them.'*® For example, in PHP Liquidating, LLC v. Robbins,'?" the United
States District Court for the District of Delaware considered the viability of creditors’ claims
against stockholders arising from an allegedly unlawful stock distribution in violation of DGCL
section 160.'"* Noting that DGCL section 174(c) specifically entitles directors who are found
liable for unlawful stock redemptions to be subrogated to the rights of the corporation against
stockholders who received payments with knowledge of facts indicating that they were unlawful,
the court in PHP Liquidating, LLC concluded that stockholders could be held liable under
section 174 — but only if the stockholders acted in bad faith.'* Although other courts
addressing similar claims alleged against shareholders likewise have recognized notice of the
unlawful nature of the payment or bad faith as prerequisites, other courts have not imposed this

requirement, '?”°

1265 See Buckhead Am., 178 B.R. at 969-74; Crowthers, 129 B.R. at 1000-01.

1266 PHP Liquidating, LLC v, Robbins, 291 B.R. 603, 609 (D. Del. 2003) (recognizing that principle, but denying
relief because claim was brought by assignee of individual creditors, and not the corporation, and because of
failure to allege knowledge that stock redemption was unlawful or was received in bad faith), aff'd, 128 F.
App'x 839 (3d Cir. 2005); Sheffield Steel Corp. v. HMK Enters., Inc. (In re Sheffield Steel Corp.), 320 BR. 405,
415 (Bankr. N.D, Okla. 2004) (applying Delaware law); Weinman v. Fidelity Capital Appreciation Fund (n re
Integra Realty Res., Inc.), 198 B.R. 352, 364-65 (Bankr. D. Colo. 1996) (applying Delaware law); cf. Staniey v.
Brock (In re Kettle Fried Chicken of Am., Inc.), 513 F.2d 807, 813 (6th Cir. 1975) (applying Delaware law).

1267 99) B.R. 603 (D. Del. 2003).
1268 PHP Liquidating, 291 B.R. at 608.

1269 PHP Liquidating, 291 B.R. at 608. In the absence of any allegation of bad faith, the court concluded that the
stockholders had redeemed their stock in good faith and denied the creditors' claim. Id. at 609.

" See, e.g., EBS Litig. LLC v. Barclays Global Investors, N.A., 304 F.3d 302, 307 (3d Cir. 2002) (noting that
directors "could recover from the recipients of the dividend only if the recipients had been aware of the
impropriety in issuing the dividend"), Sheffield Steel, 320 B.R. at 415 (noting that "[i]t is not clear to the Court
whether bad faith is an element of the claim which must be alleged, or good faith is an affirmative defense,
which need not be pleaded,” but concluding that "the Court will assume that some element of knowledge of [the
corporation's] financial condition, actual or imputed, on the part of a shareholder, is required to state a claim");
integra Realty, 198 B.R. at 365 (recognizing implied cause of action against stockholders to recover illegal

409
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 57 of 72

It bears noting that conduct that exposes a director to potential liability pursuant to DGCL
section 174 may also subject the director to liability for breach of fiduciary duty.'?"! For
instance, a director may be charged with a breach of fiduciary duty for failing to appropriately
discharge fiduciary duties in determining whether the corporation has a surplus.'*”* Directors
are, however, entitled to the protection of a statutory safe harbor for reliance in good faith on

valuation reports pursuant to section 172.'7” Section 172 provides that:!”

A member of the board of directors, or a member of any committee
designated by the board of directors, shall be fully protected in
relying in good faith upon . . . such information, opinions, reports
or statements presented to the corporation by any of its officers or
employees, or committees of the board of directors, or by any other
person as to matters the director reasonably believes are within
such other person's professional or expert competence and who has
been selected with reasonable care by or on behalf of the
corporation, as to the value and amount of the assets, liabilities
and/or net profits of the corporation or any other facts pertinent to
the existence and amount of surplus or other funds from which
dividends might properly be declared and paid, or with which the
corporation's stock might properly be purchased or redeemed.

dividends paid, 1f stockholders had knowledge of illegality); cf Stanley v. Brock (In re Kettle Fried Chicken of
Am., Inc.}, 513 F.2d 807, 812 (6th Cir. 1975) (holding that DGCL section 160 affords a remedy for creditors
against "innocent shareholders who have sold stock to the corporation in good faith and without knowledge that
the capital of the corporate was impaired at the time of the sale,” on basis that when “the corporate act is illegal,
the shareholder's lack of knowledge of the illegality cannot be controlling"). Notably, the court in PHP
Liquidating expressly rejected the court's recognition in Kettle Fried Chicken of an implied remedy against
shareholders arising under DGCL section 160, as opposed to section 174, characterizing it as "unpersuasive"
and "contrary to Delaware's statutory scheme." See PHP Liquidating, 291 B.R. at 609.

See Brehm v. Eisener, 746 A.2d 244, 264 (Del. 2000) (noting that failure to exercise "substantive due care" is
"foreign to the business judgment rule"); Propp v. Sadacca, 175 A.2d 33, 38 (Del. Ch. 1961) (holding that
chairman was not entitled to rely on business judgment rule in defending stock redemption made for the
purpose of retaining control while corporation was in financial difficulty), aff'd in relevant part and rev'd in
part sub nom., Bennett v. Propp, 187 A.2d 405 (Del. 1962).

Klang, 702 A.2d at 156-57.

id. at 156.12. This safe harbor is analogous to that provided by DGCL section 141(e) in the context of a
breach of fiduciary duty analysis, pursuant to which directors are entitled to rely on data provided to the board.
See Report at § TV.E.2.a.(5).

"74 DEL. CODE ANN. tit. 8, § 172 (2010); see Kiang, 702 A.2d at 152 ("Directors have reasonable latitude to depart
from the balance sheet to calculate surplus, so long as they evaluate assets and liabilities in good faith, on the
basis of acceptable data, by methods that they reasonably believe reflect present values, and arrive at a
determination of the surplus that is not so far off the mark as to constitute actual or constructive fraud."); see
also Sheffield Steel, 320 B.R. at 449. Notably, exculpation of directors from section 174 liability by means of a
charter provision is specifically prohibited by DGCL section 102(b)(7). DEL. CODE ANN. tit. 8, § 107(b)(7)(iil)
(2010).

127,

ba

W273

410
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 58 of 72

b. Potential Preemption Issues.

Illegal corporate distribution claims pursuant to the DGCL, like unjust enrichment claims

1275 might be vulnerable to federal preemption in the

pursuant to Delaware common law,
bankruptcy context. As discussed above, courts of the Third Circuit have interpreted the
"settlement payment" defense set forth in Bankruptcy Code section 546(e) broadly, beyond the
scope of its plain meaning.'?”° Consistent with this reading, at least one court has held that
section 546(e) acts to bar claims for illegal corporate distributions pursuant to DGCL sections

160 and 173.'?”" For reasons discussed above, the Examiner leaves the question of preemption

in equipoise.

c. Examiner's Conclusions and Explanation Concerning
Application of Legal Standards to Potential Defendants.

Examiner's Conclusions: A court is reasonably unlikely to find that a claim for illegal
corporate distributions pursuant to the relevant provisions of the DGCL could be sustained
against Tribune's directors based on the Step One Transactions, and is somewhat unlikely to find
that such a claim could be sustained against Tribune's directors based on the Step Two

Transactions.

1275 See Report at § IV.E.4.b.

28 See, e.g., Brandt v. B.A. Capital Co., L.P. (In re Plassein Int'l Corp.), 590 F.3d 252, 258-59 (3d Cir. 2009)
(following Resorts International in holding that transfer of acquisition proceeds paid for privately-traded shares
in leveraged buyout transaction through financial institution was insulated under Bankruptcy Code section
546(e) as settlement payment); Lowenschuss v. Resorts Int'l, Inc. (In re Resorts Int'l, Inc.), 181 F.3d 505, 514-
16 (3d Cir. 1999) (concluding that transfer of stock sale proceeds in leveraged buyout transaction from transfer
agent to broker for the account of the selling stockholder, without involvement of clearing agency, constituted
“settlement payment"). See Report at § IV.E.4.b.

_ Off Comm. of Unsecured Creditors of Nat'l Forge Co. v. Clark (In re Nat'l Forge Co.), 344 B.R. 340, 351-68,
380-81 (W.D. Pa. 2006) (examining cases interpreting section 546(e), including Resorts International and
Hechinger, in holding that settlement payment defense precluded prosecution of directors under DGCL sections
160 and 173 for unlawful distributions of payments that were settled though a financial institution, financial
participant, or securities clearing agency). But see PHP Liquidating, 291 B.R. at 607 (rejecting argument that
Bankruptcy Code section 546(e) barred creditors’ claims against stockholders based on DGCL section 160).

411
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 59 of 72

Explanation of Examiner's Conclusions:

Certain Parties argued that Tribune violated DGCL sections 160 and 173 by making
payments to Selling Stockholders pursuant to the Tender Offer and Merger components of the
Leveraged LBO Transactions, such that the Tribune Board, having authorized these payments,
should be held jointly and severally liable to the corporation for willful or negligent violation of
these provisions pursuant to DGCL section 174.

The Selling Stockholders received approximately $4.284 billion in connection with the
Tender Offer at Step One.'?” As detailed in another part of the Report, the record adduced in
this Investigation likely fails to establish that the Tender Offer occurred at a time when Tribune’s
capital was impaired, or that the Tender Offer caused an impairment of Tribune’s capital.!?”
Absent this prerequisite, a claim pursuant to DGCL sections 160 and 173 arise from Tribune's
payments to the Selling Stockholders in connection with the Tender Offer. Even if insolvency
could be demonstrated in hindsight, a court would be reasonably likely to find that the Tribune
Board is entitled to the protection of DGCL section 172. As described above, this safe harbor
provision shields the Tribune Board from exposure pursuant to DGCL section 174 to the extent
that, in approving the Tender Offer, it relied in good faith on information, opinions, reports, or
statements regarding Tribune’s finances presented by officers, employees, committees, or any
other persons, selected with reasonable care, concerning matters reasonably believed to be within
the professional or expert competence of those persons. The evidence in the record reflects that
the Tribune Board relied in good faith on the information provided to it by the Special

Committee and its Financial Advisors in deciding to authorize the Tender Offer.'*®°

1278 See Report at § IV.B.1.
1279 See id. at § IV.B.5.d.(8)-IV.B.5.d.(9).
1289 See id. at § III.D.1 f. and III.D.1.g.

412
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 60 of 72

The Selling Stockholders also received approximately $3.982 billion in Merger

1281 As discussed in another part of the Report, the

Consideration in connection with Step Two.
Examiner concludes that it ts highly likely that Tribune and reasonably likely that the Guarantor
Subsidiaries were rendered insolvent at Step Two.'7** As a result, a claim against Tribune's
directors pursuant to DGCL sections 160 and 173 could potentially arise from Tribune's payment
of the Merger Consideration at Step Two unless their good faith reliance on solvency analyses
presented to them triggers the protection of the safe harbor provision of DGCL section 172.

As described elsewhere in the Report, the record adduced in this Investigation indicates
that the Tribune Board failed to carefully scrutinize information presented by Tribune
management and by VRC in order to evaluate the risk that closing on the Step Two Transactions
would render Tribune insolvent.'”” If the Tribune Board relied blindly on flawed or inaccurate
data or projections presented to it without making any reasonable inquiry into the soundness of
this information, a question would arise as to whether the Tribune Board is protected from
liability under DGCL section 174 by the safe harbor provision.'“* Here, however, as discussed
previously, the record reflects at least some modicum of inquiry and evaluation by the Tribune
Board, and probably falls short of supporting any finding of conscious abdication of

responsibility or intentional wrongdoing in the Tribune Board's deliberations at Step Two. !7°°

8 See id. at §1V.B.1.

1282 See id, at §§ IV.B.5.d.(10), IV.B.5.d.(11).

1283 See id. at § IV.B.4.c.(5).

1284 See Kiang, 702 A.2d at 152; see also Van Gorkom, 488 A.2d at 875-88, Mills Acquisition, 559 A.2d at 1283-84.
1285 See Report al §§ IV.E.2.¢.(4), IV.E.2..(5).

413
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 61 of 72

6. Professional Malpractice Claims.'?*

a. Legal Standard for Professional Malpractice Claims.

Illinois defines "malpractice" generally as "[a]n instance of negligence or incompetence
on the part of a professional."'”®” Under Illinois law, the elements of a cause of action for
professional malpractice are the same as the elements necessary to establish a negligence case:
“the existence of a relationship between the professional and client, a duty arising from that
relationship, a breach of that duty, causation, and damages resulting from that breach.”!788 In
such cases, the duty coincides with the elevated position the law assigns to professionals: "In...
a professional negligence case, the standard of care required of a defendant is to act as would an
‘ordinarily careful professional.' Pursuant to this standard of care, professionals are expected to
use the same degree of knowledge, skill and ability as an ordinarily careful professional would

exercise under similar circumstances."'*”? To establish a malpractice cause of action in Illinois,

a plaintiff must use an expert witness to establish both "(1) the standard of care expected of the

'85 The Parties only raised a potential professional malpractice claim against VRC for alleged negligence in its
preparation of the solvency opinions. Somewhat surprisingly, no Party advocated any malpractice claims
against other participants in the Leveraged ESOP Transactions. Thus, the Examiner did not evaluate the merits
of any professional malpractice claims against any entities other than VRC.

"87 Childs v. Pinnacle Health Care, LLC, 926 N.E.2d 807, 819-20 (lll. App. Ct. 2010); see also Roe v. Catholic
Charities of the Diocese of Springfield, fil., 588 N.E.2d 354, 363 (Ill. App. Ct. 1992) (""Malpractice' is defined .
..as'[a]ny professional misconduct, unreasonable lack of skill or fidelity in professional or fiduciary duties,
evil practice, or illegal or immoral conduct.) (quoting BLACK’s LAW DICTIONARY 1111 (4th rev. ed. 1968)).

"288 Bus. Comme'ns, Inc. v. Freeman, 1994 U.S. Dist. LEXIS 2304, at *10 (N.D. III. Mar. 2, 1994) (evaluating claim
of malpractice in performance of accounting services under Illinois law); see also MC Baldwin Fin. Co. v.
DiMaggio, Rosario & Veraja, LLC, 845 N.E.2d 22, 30 (Ill. App. Ct. 2006) (same); Catholic Charities of
Springfield, 588 N.E.2d at 363 (addressing claim of social worker malpractice under Illinois law); of Wal-Mart
Stores, Inc. v. AIG Life Ins. Co., 872 A.2d 611, 630 (Del. Ch. 2005) (citing substantially identical elements for
claim of professional malpractice under Delaware law), aff'd in part and rev'd in part on other grounds, 901
A.2d 106 (Del. 2006).

1289 Jones v. Chi. HMO Ltd., 730 N.E.2d 1119, 1130 (Ill. 2000) (citations omitted); cf Wal-Mart Stores, 872 A.2d at
630 0.89 (stating that professionals’ are held to a higher standard of care").

414
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 62 of 72

professional and (2) [that] the professional's deviation from the standard caused the plaintiff's

injury."'?”°

Under Illinois law, the duty of care exists when the litigants "stand in such a relationship

to one another that the law imposes upon the defendant an obligation of reasonable conduct for

1292 Tn making

the benefit of the plaintiff."'""' Whether such a duty is owed is a question of law.
that assessment, the court must examine the foreseeability, likelihood, and gravity of the harm or
injury; the magnitude of the burden of guarding against the harm or injury and the consequences
of imposing such a burden; and the utility of the challenged conduct.’?”

In evaluating the viability of a professional malpractice claim under Illinois law when the
parties' relationship is based on a contract, the court must consider Illinois’ version of the
economic loss doctrine, known as the "Moorman doctrine."’?* Under this doctrine, when a

1295

claimant's only incurred loss is economic, “*” the claimant generally is limited to contract

damages, "even if the defendant's alleged conduct [would otherwise have] constituted a tort as

1290 Kinzinger v. Tull, 770 N.E.2d 246, 253 (Ill. App. Ct. 2002) (noting standard for "professional malpractice
cases”); see also Chi. HMO Lid , 730 N.E.2d at 1130 (stating that "[tjhe rationale for requiring expert testimony
is that a lay juror is not skilled in the profession and thus is not equipped to determine what constitutes
reasonable care in professional conducl without the help of expert testimony,” although exceptions exist where
the expert's behavior is "so grossly negligent" or the proper behavior "so common that a lay juror could readily
appraise it").

"91 4AYH Holdings, Inc. v. Avreco, Inc., 826 N.E.2d 1111, 1125 (Ill. App. Ct. 2005) (quotations and citalions
omitted).

1292 See Chi. HMO Lid, 730 N.E.2d at 1134 ("Whether a duty exists is a question of law to be determined by the
court.") (citalion omitted); AYH Holdings, Inc., 826 N.E.2d at 1125 (same effect); Catholic Charities of
Springfield, 225 Ill. App. 3d at 533, 588 N.E.2d at 363 (same effect).

93 See AYH Holdings, 826 N.E.2d at 1125-26 (citations omitted); Catholic Charities of Springfield, 588 N.E.2d at
363 (citation omitted); see also Chi. HMO Lid, 730 N.E.2d at 1134 (listing factors in context of medical
malpractice against health maintenance organization).

1294 Chatz v. Bearing Point Inc. (In re Nanovation Techs., Inc.), 364 B.R. 308, 343 (Bankr. N.D. Ill. 2007)
(discussing Moorman Mfg. Co. v. Nat'l Tank Co., 435 N.E.2d 443 (1982)).

"9 The Illinois Supreme Court defined "economic loss" to encompass "damages for inadequate value, costs of
repair and replacement of the defective product, or consequent loss of profits — without any claim of personal
injury or damage to other property . . .' as well as ‘the diminution in the value of the product because it is
inferior in quality and does not work for the general purposes for which it was manufactured and sold.”
Moorman, 435 N.E.2d at 449 (citations omitted).

415
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 63 of 72

well as a breach of contract."'”°° Nevertheless, the Moorman doctrine does not apply to prevent
recovery tn tort when the defendant has etther made (1) tntentionally false representations, or (2)
negligent misrepresentations and "ts tn the business of supplying information for the guidance of
others in their business transactions."!””’ This latter exception, known as the "business
professtonal exception" to the Moorman doctrine, removes the economic loss bar from
professional malpractice actions against attorneys, accountants, and business consultants.'?* As
such, a professional malpractice claim against such professionals may, under Illinois law, "be

couched in either contract or tort law."!”

b. Legal Standards Governing In Pari Delicto Defenses to
Professional Malpractice Claims.

Illtnots law recognizes the doctrine of in pari delicto.'° As applied in Illinois, in pari
delicto dictates that, when opposing litigants are "of equal knowledge, willfulness and wrongful

intent" as respects an illegal act, "the law will not aid either party” but will instead "leave them

1296 Nanovation Techs., 364 B.R. at 343. In Moorman, the Illinois Supreme Court had reasoned that “[w]hen the
defect is of a qualitative nature and the harm relates to the consumer's expectation that a product is of a
particular quality so that it is fit for ordinary use, contract, rather than tort, law provides the appropriate set of
rules for recovery.” Moorman, 435 N.E.2d at 451.

'97 Nanovation Techs., 364 B.R. at 343; Moorman, 435 N.E.2d at 452.

1298 Nanovation Techs., 364 B.R. at 343-44 (finding the "business professional exception” to the Moorman doctrine

applicable to permit professional negligence claim against KPMG for performance of stock valuation services)
(citations omitted); see also Congregation of the Passion, 636 N.E.2d 503, 512-15 (Ill. 1994) (in assessing
whether the economic loss doctrine bars tort recovery against accountants, "[w]e find that it does not");
Fireman's Fund Ins. Co. v. SEC Donohue, Inc., 666 N.E.2d 881, 885 (Ill. App. Ct. 1996) ("[T]he Moorman
doctrine does not bar recovery for economic losses for professional malpractice actions against accountants.”);
Waters v. Reingold, 663 N.E.2d 126, 135 (Ill. App. Ct. 1996) (same), overruled on other grounds by Niccum v.
Botti, Marinaccio, DeSalvo & Tameling, Ltd., 694 N.E.2d 562 (Ill. 1998); Lozesky v. State, 2001 IIL. Ct. Cl.
LEXIS 29, at *14 n.2 (Ill. Ct. Cl. July 19, 2001) (observing that Illinois Supreme Court has seen fit to continue
a piecemeal approach to applying the Moorman doctrine to professional malpractice of architects and . . .
engineers but not to attorneys or accountants") (citation omitted).

9 Waters, 663 N.E.2d at 135.
08 King v. First Capital Fin. Servs. Corp., 828 N.E.2d 1155, 1173 (Il. 2005).

416
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 64 of 72

without remedy as against each other."'*"' In identifying an entity's status for purposes of in part
delicto, the doctrine borrows the familiar tenet that "[s]ince corporations act through their
officers, the actions of the officers are . . . imputed to the corporation." Thus, when a
corporate officer commits a fraud, for example, that fraud is imputed back to the officer's
corporation — provided the fraud was committed in the course of employment and for the
corporation's benefit." If so imputed, the officer's wrongful conduct triggers in pari delicto
and, in turn, defeats any claim by the corporation against defendants complicit in the
wrongdoing.'™ If that corporation has entered bankruptcy, the trustee steps into the
corporation's shoes, and normally succeeds to the rights of (and becomes exposed to the defenses
against) the corporation. °°

Two recent decisions have examined the in pari delicto doctrine under Illinois law in

circumstances instructive on the doctrine's application here.'*°° Both cases confronted the

doctrine in a professional malpractice context asserted against a corporation's auditors and

190! Vine St. Clinic v. HealthLink, Inc., 856 N.E.2d 422, 436 (Il. 2006) (citations omitted); Cir. for Athletic Med,
Ltd. v. Indep. Med. Billers, Inc., 889 N.E.2d 750, 759-60 (III. App. Ct. 2008).

130? Grede v. McGladrey & Pullen LLP, 421 B.R. 879, 885 (N.D. Ill. 2009); see also McRaith v. BDO Seidman,
LLP, 909 N.E.2d 310, 331 (Ill. App. Ct. 2009) ("Generally, the knowledge and conduct of agents are imputed to
their principals.").

1903 See Off. Comm. of Unsecured Creditors v. R.F. Lafferty & Co., 267 F.3d 340, 358 (3d Cir. 2001).

1304 See R.F. Lafferty & Co., 267 F.3d at 355 ("If wrongdoing is imputed, then the in pari delicto doctrine comes
into play and bars a suit.").

1305 See Bank of Marin v. England, 385 U.S. 99, 101 (1966) ("The trustee succeeds only to such rights as the
bankrupt possessed; and the trustee is subject to all claims and defenses which might have been asserted against
the bankrupt but for the filing of the petition.”); Grede, 421 B.R. at 885 ("The essential principle of bankruptcy
law is that the trustee stands in the exact place of the debtor.").

19° Tlinois law would govern the application of the in pari delicto defense, because the cause of action for
malpractice would be under Illinois law. O'Melveny & Myers v. FDIC, 512 U.S. 79, 90 (1994) (Stevens, J.,
concurring) ("Because state law provides the basis for respondent FDIC's claim, that law also governs both the
elements of the cause of action and its defenses.”),

417
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 65 of 72

considered whether the alleged fraud of corporate officers must be imputed against, respectively,

a bankruptcy trustee and the liquidator of insolvent insurance companies. '*°”

In Grede v. McGladrey & Pullen LLP, the United States District Court for the Northern
District of Illinois found "a clear consensus" in the case law that bankruptcy trustees are not
insulated from the assertion of the in pari delicto defense and do not possess a sort of "innocent
successor" antidote to the doctrine's effect.'*°* Nevertheless, although lacking a broad
categorical insulation from the doctrine, the court observed that bankruptcy trustees still retain
the ability to defeat in pari delicto if the corporate officers’ fraud “was not perpetrated for the
benefit of the debtor corporation, but rather only for the benefit of the wrongdoers... ."° The
court emphasized, however, that this "adverse interest exception" applies only "when the

corporate officers act entirely for their own interests and the actions do not benefit the

corporation."'?!°

The court explained the narrow scope of the exception as follows:'3"!

The reason one must carefully examine what benefit accrued to the
corporation is that corporate officers, even in the most upright
enterprises, can always be said, in some meaningful sense, to act
for their own interests, particularly when those officers own all or a
very large piece of the business and control it. The adverse interest
exception swallows the rule if all that is required to invoke it is a
secondary, or indirect benefit of keeping the enterprise alive to
preserve their jobs or increase the paper value of their ownership
shares.

Having established these governing principles, the court still denied the auditors' motion

to dismiss the trustee's malpractice claim on in pari delicto grounds, citing the uncertainty on the

"°"" Grede, 421 B.R. at 884 (assessing doctrine’s applicability against bankruptcy trustee); McRaith, 909 N.E.2d at
331 (assessing doctrine’s applicability against liquidator of insolvent insurers).

1308 7d. at 885 (collecting cases).
309 Id. at 885-86.

310 Td. at 886.

3 Id.

418
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 66 of 72

undeveloped record whether the benefits alleged to have befallen the corporate debtor were truly

"meaningful" or merely "illusory."">!

The in pari delicto defense met with even less success before the Appellate Court of
Illinois in McRaith v. BDO Seidman, LLP.'*"? In that case, the director of the Illinois Division of
Insurance, as liquidator of an insolvent insurance company, sued BDO Siedman for malpractice

in its audit of the insurance company and BDO Seidman asserted in the in pari delicto defense

j 314

based on the fraud of the insurance company's principa The director asserted that in pani

delicto should not apply to him as liquidator of the insurance company and that, in any event, the

1315

adverse interest exception would apply. As in Grede, the court recognized the existence of

the adverse interest exception and found that the director has alleged facts that would trigger the

exception.'?'° However, the court further held:!?!”

In the instant case, the in pari delicto doctrine cannot apply
because the Liquidator, by statutory definition, is not the
wrongdoer; rather, he serves to protect the insurance industry and
the public interest by ensuring the victims of the misconduct can
recover monies entitled to them. To equate the Liquidator with
Engle under in pari delicto is illogical and unavailing. . . . [J]
Accordingly, we find as a matter of first impression that the

312 TZ at 888-89. That said, the court was not especially bullish on the trustee's chances of ultimately defeating in
pari delicto as the record matured, See id. at 888 ("I would rate [the trustee's] potential success to be less than
certain."). Indeed, the court noted the apparent soundness of the complaint's allegations of benefits to the
corporation from the claimed fraud: "Its apparent success attracted clients and capital, reduced debt, increased
income from investments and increased trading gains allowed to [the corporation's] own account. ... [T]he
benefit was of limited duration. But that is enough." Id. at 886 (emphasis added).

913 909 N_E.2d 310 (Ill. App. Ct. 2009),
314 7 at 314.
313 Id at 329.

"716 Id at 331 ("An exception to this [officer-action-imputed-to-corporation] rule exists where the agent's interests
are adverse to the principal."); see also id. at 332 ("[W]hen a corporate officer or agent engages in fraudulent
conduct for the distinctly private purpose of lining his own pockets at his corporation's expense, it is unlawful,
as well as illogical, to impute the agent's guilty knowledge or disloyal, predatory conduct to his corporate
principal.” (quoting Reider v. Arthur Andersen, LLP, 784 A.2d 464, 470 (Conn. Super. Ct. 2001)).

'8\7 909 N.E.2d 310, 336 (II. App. Ct. 2009). But see Holland v. Arthur Andersen & Co., 469 N.E.2d 419, 424 (Ill.
App. Ct. 1984) (holding that in pari delicto barred action because "liquidation trustee may only pursue those
claims which belong to the estate of the debtor corporation").

419
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 67 of 72

imputation defense is inapplicable against the Liquidator.

c. Effect of Indemnification Rights on Professional Malpractice
Claims.

Under Illinois law, an indemnity contract that is clear, explicit, and unambiguous must be
enforced as written.’?'® A contract that agrees to indemnify a negligent actor from its own
negligence falls within this general rule and, under Illinois law, must be enforced.'*!* In fact,
enforcement of an indemnification against willful misconduct is not always foreclosed. °°
Likewise, when an agreement includes a clause imposing a limitation on damages, such a clause

is enforceable under Illinois law as long as the limitation is expressly stated and no public policy

bar exists. '>2!

In connection with Tribune's engagement of VRC to prepare the solvency opinions,

Tribune executed an Indemnification Agreement in favor of VRC.'°? In the Indemnification

Agreement, Tribune agreed that:'?”

[NJo Indemnified Person shall have any liability (whether direct or
indirect, in contract or tort or otherwise) to the Company or the
Company's equity holders or creditors related to, arising out of or
in connection with VRC's engagement except to the extent that any
loss, claim, damage or liability is found . . . to have resulted
primarily from such Indemnified Person's bad faith, willful
misconduct or gross negligence.

The Indemnification Agreement also included a limitation on damages, stating that:!°”

"318 See Chi. Hous. Auth. v. Fed. Sec., Inc., 161 F.3d 485, 487-88 (7th Cir. 1998).

'319 See id. at 487-88 (noting that such indemnification need not be accomplished by “specific reference," if an
indemnity against negligence is a "fair and reasonable interpretation based upon a consideration of all of its
language and provisions") (citations omitted).

1320 See id. at 488, 489 (although such indemnification is "as a general rule" against public policy, "[w]e see nothing
in the general Illinois rule against contracts to indemnify someone for the consequences of its intentional or
negligent acts that would preclude enforcement of a contract requiring the primary wrongdcer to bear the
financial burden of its actions.) (citations omitted).

21 See ExxonMobil Oil Corp. v. Amex Constr. Co., 2010 U.S. Dist. LEXIS 26343, at *71-72 (N.D. III. Mar. 19,
2010).

2 See Ex. 263 (Solvency Engagement Letter with attached Indemnification Agreement between the Company and
VRC, dated April 11, 2007).

fd. (Indemnification Agreement).

W323

420
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 68 of 72

The Company agrees that in the event of any claim brought by the
Company against VRC relating to the Engagement Letter, VRC's
liability to the Company shall be limited to the total amount of fees
paid by the Company to VRC under the Engagement Letter. This
limitation of liability shall not apply to any damages determined to
have resulted from VRC's bad faith, gross negligence or willful
misconduct.

d. Examiner's Conclusions and Explanation Concerning
Application of Legal Standards to VRC.

Examiner's Conclusions: The Examiner leaves in equipoise the question whether a

professional malpractice claim could be sustained against VRC.

Explanation of Examiner's Conclusions:
Redacted

42]
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 69 of 72
Redacted

422
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 70 of 72

ANNEX A

Annex A is redacted in its entirety.
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 71 of 72

ANNEX B

Annex B is redacted in its entirety.
Case 08-13141-BLS Doc 5131-1 Filed 07/26/10 Page 72 of 72

ANNEX C

Annex C is redacted in its entirety.
